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           In the United States Court of Federal Claims
                             Nos. 20-44; 20-47; 20-55 (consolidated)
                                   (Filed: 23 December 2021)

***************************************
ROBERT L. CAMPO, et al.,              *
                                      *               Motion to Dismiss; RCFC 12(b)(6);
                  Plaintiffs,         *               Fifth Amendment; Takings; Oysters;
                                      *               Compensable Property Right; Surreply;
v.                                    *               28 U.S.C. § 1497; Louisiana
                                      *
THE UNITED STATES,                    *
                                      *
                  Defendant.          *
                                      *
***************************************

        Camilo K. Salas III, Salas & Co., L.C., with whom were Michael G. Stag, Ashley M.
Liuzza, and Mathew D. Rogenes, all of Stag Liuzza, L.L.C., New Orleans, LA, for plaintiffs.

      William J. Shapiro, Senior Trial Attorney, Environment and Natural Resources Division,
Department of Justice, of Sacramento, CA, for the government.

                                    OPINION AND ORDER

         In his 1690 Second Treatise of Government, John Locke famously noted “the labour of
his body, and the work of his hands, we may say, are properly his. Whatsoever then he removes
out of the state that nature hath provided, and left it in, he hath mixed his labour with, and joined
to it something that is his own, and thereby makes it his property.” Over 300 years later, this
case raises the unique legal issue of whether Louisiana oyster growers may claim property rights
in the fruits of their labor—oysters.

         Plaintiff oyster farmers allege the United States deprived them of use, occupancy and
enjoyment of their personal oyster stock and real property (oyster beds and reefs). The farmers
allege the government actions resulted in a permanent taking of their property for a public use
without payment of just compensation in violation of the Takings Clause of the United States
Constitution. The government admits when plaintiffs sell oysters they are “paid for the fruits of
[their] effort,” and plaintiffs may assert rights to exclude, destroy, use, possess, recover for
larceny, alienate, sue third parties for damages, and enjoy the fruits of selling oysters. Despite
acknowledging those rights, the government moves to dismiss the portion of plaintiffs’ claim
alleging a taking of the oysters; the government argues plaintiff farmers lack a compensable
property right in the oysters. For myriad reasons detailed infra, under Louisiana precedent,
federal common law, and Lockean labor theory, plaintiffs undoubtedly have compensable
property rights in their oysters. Accordingly, the Court DENIES the government’s motion to
dismiss in part pursuant to Rule 12(b)(6) of the Court of Federal Claims.
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I. Background 1

         A. Oyster Industry in Louisiana

        Oysters are “bivalves,” which have two hard outer shells “composed primarily of calcium
carbonate (CaCO3),” and which encase “a soft inner [invertebrate] body.” Class Action Compl.
(“Compl.”) at 10, ECF No. 1. Oysters “have been cultivated, grown, farmed, and harvested
commercially in Louisiana since the mid[-]1800s” and, today, “Louisiana is the top harvester of
oysters in the U.S. Gulf of Mexico (“Gulf”) and has led the United States in oyster landings
every year since 2000.” Compl. at 9–10.

        “Louisiana leads the nation in oyster production largely due to the state’s successful
public-private oyster cultivation partnership developed in the late 1800s and early 1900s.”
Compl. at 17. “In 1899, the U.S. Bureau of Fisheries (precursor to the U.S. Fish and Wildlife
Service) investigated Louisiana’s coastal area for possible expansion of oyster culture and made
several recommendations for oyster fishery management, including encouraging the state to
promote private investment in oyster cultivation.” Compl. at 17–18. Parish governments
subsequently ceded control of water bottom leases to Louisiana’s state government. Compl. at
18. “Over the following decades, Louisiana passed numerous laws to assist and protect oyster
leaseholders,” and now, “Louisiana’s oyster cultivation is governed by both legislative statutes
(Louisiana Revised Statutes, Title 56) and rules promulgated by the [Louisiana Department of]
Wildlife and Fisheries Commission [(“LDWF”)] (Louisiana Administrative Code, Title 76).” Id.
State law specifies LDWF “[s]hall assist in protecting all lessees of private oyster bedding
grounds in the enjoyment of their rights.” Id. (citing La. Stat. Ann. § 56:6(16) (2014)).

         “[B]y law all [but a few of] the water bottoms in the [S]tate of Louisiana are owned by
the [S]tate of Louisiana.” Mot. to Dismiss Oral Arg. Tr. (“Tr.”) at 20:7–9, 20:23–21:5, ECF No.
26. “Oyster growers apply to lease the state-owned water bottoms through LDWF’s Oyster
Lease Survey Section,” and where water bottoms are privately owned, “oyster farmers . . . obtain
private leases from private owners of water bottoms.” Compl. at 18. The state-owned water
bottom leases are issued “for a typical term of 15 years, currently at a rate of $3.00 per acre (as
of January 1, 2016).” Id. Notably, for this price “state law provides the lessee with exclusive
use of the water bottoms.” Id. at 18–19. Oyster farmers generally “harvest oysters from private
leases from May through September when public oyster areas are closed to harvesting oysters for
market purposes.” Id. “Oyster farmers often transplant seed oysters from public oyster[] areas
to their private leases to ‘bed’ them whenever the public oyster areas are open, most frequently
during September, October, March, and April.” Id. Louisiana also regulates the oyster industry
by requiring “licenses to commercially harvest or possess oysters in Louisiana waters, . . . gear
licenses for scrapers and tongs[, and] . . . [t]he captain of the harvest vessel must also have an



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  The Court draws the following facts from plaintiffs’ filings, “accept[ing] all well-pleaded factual allegations as true
and draw[ing] all reasonable inferences in [the nonmovants’] favor.” Boyle v. United States, 200 F.3d 1369, 1372
(Fed. Cir. 2000); see also Hamlet v. United States, 873 F.2d 1414, 1416 (Fed. Cir. 1989) (citing Scheuer v. Rhodes,
416 U.S. 232, 236 (1974)) (“[I]n passing on a motion to dismiss, whether on the ground of lack of jurisdiction over
the subject matter or for failure to state a cause of action, the allegations of the complaint should be construed
favorably to the pleader.”).

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Oyster Harvesting License.” Id. at 19–20. Separate licenses are also required to sell oysters
directly to consumers or non-consumers. Compl. at 20.

        To survive and thrive, oysters must attach to the water bottoms. Id. at 12. Soft-bodied,
hard-shelled oysters “cannot attach themselves to the mud[dy] . . . water bottoms,” Tr. at 8:18–
24, rather oysters require “hard, clean substrate, including existing oyster reef as well as non-
native substrates such as limestone rock, concrete, dock pilings, and bulkheads,” Compl. at 10.
Thus, after securing an oyster lease, an oyster grower must fix the “generally muddy” water
bottoms, Tr. at 9:18–20, by ensuring the oysters have a hard substrate “to attach themselves to.”
Tr. at 9:2; Compl. at 32. The government “note[s] that the hard surface on which the oysters
may attach . . . is sometimes called cultch.” Tr. at 12:8–11. Leaseholders “get rock material,
small rocks, and they will go and lay . . . rocks at the bottom, so that they will create a hard
surface on which the oysters can grow.” Tr. at 9:6–10. Also, “the shells that are . . . left over
after the oysters have been removed . . . can be thrown back on the beds . . . to create the beds.”
Tr. at 9:11–15.

        After “fixing” the beds, the oyster grower must obtain “tiny oysters,” or “seed,” from
“public seeding areas” and “bring [the seed] down to [their] water bottoms.” Tr. at 10:6–22.
“[T]ypically the time period between . . . bringing the tiny little oysters and the time where they
can be actually harvested is approximately four years or five years.” Tr. at 10:22–11:2. The
government states laying cultch, seeding, and harvesting “takes a lot of labor effort,” “it’s pretty
difficult work,” Tr. at 15:13–16, and “[i]f you have to put the cultch down, that can be quite
expensive,” Tr. at 13:19–20. See also Avenal v. State, 886 So. 2d 1085, 1110 (La. 2004)
(Weimer, J., concurring) (footnote omitted) (“Oyster farming has historically been arduous,
backbreaking work requiring a special dedication. . . . Louisiana has historically leased water
bottoms for a nominal value because this property had little intrinsic value. Through hard work
and dedication, many oyster fishermen built reefs with materials referred to as cultch over the
muddy water bottoms, turning unproductive lands into an area producing bountiful crops of
oysters.”).

       B. The Bonnet Carré Spillway

       “[I]n response to the Great Mississippi flood of 1927,” Compl. at 23, “the [United States
Army Corps of Engineers (‘Corps’)] authorized the construction of the Bonnet Carré Spillway in
1928,” Tr. at 30:5–8. In 1931, the spillway was completed as “a flood control structure in the
Lower Mississippi Valley.” Compl. at 20. “Located in St. Charles Parish, Louisiana about 32.8
miles west of New Orleans, [the spillway] allows floodwaters from the Mississippi River to flow
into Lake Pontchartrain and thence into the Lake Pontchartrain Basin, including Lake
Pontchartrain, Lake Borgne, the Biloxi Marshes, Chandeleur Sound, Breton Sound, the
Mississippi Sound and ultimately the Gulf of Mexico.” Id. The spillway “has a design capacity
of 250,000 cu ft/s (7,100 m3/s).” Id. at 21.

       “The decision to operate or ‘open’ the Bonnet Carré Spillway is the responsibility of the
Mississippi River Commission (‘MRC’) president.” Id. at 22. “The MRC president relies
heavily on the recommendations of the Corps’ New Orleans District Engineer, who is
responsible for the actual operation of the control structure and the floodway of the Bonnet Carré

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Spillway.” Id. The MRC predates the Bonnet Carré Spillway, having been established by “an
Act of Congress on June 28, 1879.” Id. “The decision to operate the Bonnet Carré Spillway is
made when existing conditions, combined with predicted river stages and discharges, indicate
that the mainline levees in New Orleans and other downstream communities will be subjected to
unacceptable stress from high water.” Compl. at 22. The Bonnet Carré Spillway was “first
opened during the flood of 1937, and twelve times thereafter through February 2019, to lower
river stages at New Orleans.” Id. at 23–24.

       C. Environmental Factors Affecting Oyster Mortality in Louisiana

         Eastern Oysters are a variety of oysters home to the “East Coast of North America from
the Gulf of St. Lawrence in Canada to the Yucatan Peninsula in the Gulf,” including the entire
Gulf Coast of Louisiana. Id. at 10 (citation omitted). Eastern Oysters “prefer moderate salinities
of between 5 to 15 parts per thousand (‘ppt’), which minimize predator or disease threats without
inhibiting physiological processes.” Id. at 10. This water is colloquially known as “brackish” as
it is “kind of a mixture of salt and fresh.” Tr. at 30:1–2. Assuming sufficient food supply,
“temperature and salinity are the most important natural environmental factors affecting oyster
growth.” Compl. at 12.

        Tests show oysters along the Gulf Coast can tolerate temperatures ranging from 28°F to
120°F and salinities ranging from 0 to 42.5 ppt. Id. at 13. A recent study in Breton Sound,
Louisiana found that adult oyster mortality increases with temperature but also with salinities
under 9 ppt or over 13 ppt. Id. (citation omitted). Water salinity and temperature also affect
developing larvae mortality and whether larvae can successfully settle and attach themselves to
hard substrate on the water bottom. Id. (citation omitted). “A critical component of salinity and
temperature induced oyster mortality is the duration of exposure to extreme conditions” such as
“higher or lower salinity.” Id. at 14. “It is generally accepted that oysters are more tolerant of
extreme salinities at lower temperatures due to decreased metabolic activity,” whereas oysters
are less tolerant to extreme salinity in waters at a higher temperature. Id. In other words, during
cold weather, oysters can often withstand prolonged exposure to fresh water but in warmer
weather, prolonged exposure to fresh water can increase oyster mortality. Compl. at 14 (citation
omitted).

        “In a study entitled ‘Salinity Changes in Pontchartrain Basin Estuary Resulting From
Bonnet Carré Freshwater Diversion,’ Technical Report CHL-97-2 prepared by the Corps’
Waterways Experiment Station in February 1997, the Corps concluded that: ‘[t]he estuary
responds very slowly to changes in freshwater inflow to Lake Pontchartrain. For example, in the
Biloxi Marshes salinity effects are noticeable within 30 days of a change in flow, but the peak
effect occurs around 60 days and a noticeable residual effect remains at 120 days.’” Id. at 16.
The Corps also found a discharge capacity of about 30,000 cu ft/s (“cfs”) would reduce salinities
to about 6 ppt in the Biloxi Marshes, “which would become even lower two months later due to
the slow response of the natural system.” Id. at 16–17.




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       D. The Government’s Opening the Spillway in 2019

        In 2019, the Corps opened the Bonnet Carré Spillway for a total of 123 days, first from
27 February until 11 April and then from 10 May until 27 July. Id. at 2, 24–25. During the first
2019 opening, the peak flow rate was “213,000 cfs on March 19, 2019” and during the second
2019 opening, the peak flow rate was “161,000 cfs on May 21, 2019.” Id. at 24–25. “[2019]
marked the first time in the spillway’s history that it was opened twice in one year.” Id. at 25.
These two openings released “nearly ten trillion gallons of freshwater from the Mississippi River
into [oyster estuaries] . . . lowering the natural and essential salinity levels of the waters and
marshes where plaintiffs . . . oyster leases are located . . . .” Compl. at 32–33.

        On 13 June 2019, the Governor of Louisiana, “John Bell Edwards, sent a letter to the
United State Secretary of Commerce” admitting “[t]he extreme influx of freshwater [from the
Bonnet Carré Spillway opening] has greatly reduced salinity levels in our coastal waters and
disrupted estuarine productivity.” Id. at 29 (quoting Governor’s Letter). The Governor further
stated: “The most recent sampling of oyster reefs indicated a mortality range of 14% up to
100%. Private oyster leaseholders in nearby areas have indicated to LDWF they have suffered
between 50% and 100% mortality on their oyster reefs, with additional mortalities still ongoing
in multiple areas.” Id. (quoting the Governor’s Letter). On 3 July 2019, “the Louisiana
Department of Health announced the closing of several oyster-harvesting areas due to the low
salinity levels caused by the influx of fresh water from the Mississippi River resulting from the
opening of the Bonnet Carré Spillway.” Id.

II. Procedural History

        On 14 January 2020, plaintiffs, Robert L. Campo, Michael Campo, Lepetich
Aquaculture, L.L.C., and M.J. Lepetich Oysters, L.L.C., along with several consolidated
plaintiffs (collectively, “plaintiffs”), filed a complaint alleging “[a]s a direct, natural or probable
consequence of the opening of the Bonnet Carré Spillway during the year 2019, plaintiffs and the
putative Class members have been deprived of the use, occupancy and enjoyment of their
personal (oyster stock) and real (oyster beds and reefs) property, resulting in a permanent taking
of their property for a public use, without payment of just compensation.” See Compl. at 33.
The Court granted the parties’ motion to consolidate Case Nos. 20-47 & 20-55 with this case on
1 May 2020. See Order, ECF No. 10. The government then moved to dismiss in part plaintiffs’
complaint pursuant to Rule 12(b)(6) of the Rules of the Court of Federal Claims (“RCFC”)
arguing plaintiffs lack a compensable property right in the oysters themselves. See United
States’ Mot. to Dismiss in Part (“Def.’s MTD”), ECF No. 11. Plaintiffs responded to the
government’s motion to dismiss by stating the Takings Clause applies to all forms of property
rights and not only ownership. Pls.’ Resp./Opp’n to the United States’ Mot. to Dismiss in Part
(“Pls.’ Resp.”) at 7, ECF No. 14. On 27 July 2020, the government filed a reply averring none of
plaintiffs’ arguments contradict its argument the State of Louisiana owns the oysters, not
plaintiffs. United States’ Reply in Supp. of Mot. to Dismiss in Part (“Def.’s Reply”) at 2–3, ECF
No. 15.

       On 1 February 2021, plaintiffs filed a motion for leave to file a surreply in opposition to
the government’s motion to dismiss in part. See Mot. for Leave to File Pls.’ Surreply in Opp’n

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to the United States’ Mot. to Dismiss in Part (“Pls.’ Surreply Mot.”), ECF No. 21. In their
surreply, plaintiffs present two arguments: (1) Louisiana’s statutory scheme for leasing water
bottoms gives plaintiffs the right to possess the oysters they grow and plaintiffs own these
oysters through possession; and (2) this Court has jurisdiction over their action pursuant to 28
U.S.C. § 1497 (2018). See Pls.’ Surreply in Opp’n to the United States’ Mot. to Dismiss in Part
(“Pls.’ Surreply Suppl.”), ECF No. 21-1. In response, the government argues plaintiffs fail to
justify their filing of a surreply and if the Court grants plaintiffs’ motion, it should conclude
neither argument has merit. See United States’ Resp. to Pls.’ Mot. for Leave to File Surreply
(“Def.’s Surreply Resp.”), ECF No. 22.

        On 9 July 2021, the Court held oral argument on the government’s motion to dismiss in
New Orleans, Louisiana. See Order, ECF No. 23. After oral argument, the Court ordered the
parties to file supplemental briefing to address the appropriate application of Louisiana Supreme
Court decisions. See Order, ECF No. 24. On 30 July 2021, the government filed its supplemental
brief wherein the government argues Louisiana Supreme Court’s precedent, Avenal v. State, 886
So. 2d 1085 (La. 2004), squarely resolves the question presented in the government’s motion and
is binding authority. See United States’ Suppl. Br. (“Def.’s Suppl. Br.”), ECF No. 27. Plaintiffs
filed their supplemental brief on 5 August 2021, arguing Avenal v. State does not address the key
issues presented in this case and thus this Court is not bound by it. See Pls.’ Resp. to the United
States’ Suppl. Br. (“Pls.’ Suppl. Br.”), ECF No. 28.

III. Parties’ Arguments Regarding the Government’s Motion to Dismiss Under RCFC
     12(b)(6)

         The government moves to dismiss plaintiffs’ complaint pursuant to RCFC 12(b)(6)
arguing, “[t]he Court should dismiss the portion of Plaintiffs’ claim alleging a taking of the
oysters themselves because, pursuant to Louisiana state law, Plaintiffs lack a compensable
property right in the oysters.” Def.’s MTD at 1. In its supplemental brief, the government
argues, “[t]he Louisiana Supreme Court’s interpretation of state law in Avenal v. State, 886 So.
2d 1085 (La. 2004), squarely resolved the question presented in the United States’ Motion to
Dismiss in Part . . . and is binding authority.” Def.’s Suppl. Br. at 1. The government continues,
“[i]n rejecting the Avenal v. State plaintiffs’ claims, the Louisiana Supreme Court confirmed that
‘[t]he state owns the waters. [La. Stat. Ann. § 9:1101]. The state owns the oysters. La. Stat.
Ann. § 56:3. Thus, the [s]tate could not take its own property.’” Def.’s MTD at 6 (citing
Avenal, 886 So. 2d at 1106). The government also asserts, “the Federal Circuit’s decision in
Avenal v. United States does not support plaintiffs’ position” because “the Federal Circuit did not
address who owns the oysters themselves.” Def.’s Reply at 2–3. The government adds,
plaintiffs are incorrect in contending “they have some property right in the oysters, despite state
law to the contrary.” Id. at 2.

        In response to plaintiffs’ motion to file a surreply, the government argues, “the United
States’ discussion of dispositive state legal authority in its [r]eply does not justify the filing of a
surreply. And, even if the Court grants Plaintiffs’ motion, Plaintiffs’ Surreply offers no grounds
to circumvent controlling state precedent.” Def.’s Surreply Resp. at 1. The government also
urges the Court to reject plaintiffs’ arguments regarding 28 U.S.C. § 1497 (2018) because this
claim is not properly raised in plaintiffs’ complaint. Id. at 8. The government alternatively

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argues plaintiffs’ claim falls outside the scope of § 1497 as plaintiffs do not allege “the United
States damaged oyster leases by dredging or some other activity related to dredging operations,”
nor do plaintiffs allege “the Corps’ operation of the Bonnet Carré Spillway in 2019 was the ‘use
of other machinery and equipment in making river and harbor improvements authorized by Act
of Congress.’” Id. at 9 (quoting 28 U.S.C. § 1497). The government adds, “Section 1497 does
not apply retroactively to the Bonnet Carré Spillway,” nor does § 1497 overcome the fact that
“Plaintiffs do not own the oysters on State-owned waterbottoms.” Id. at 11–13.

        Plaintiffs respond as follows to the government’s motion to dismiss in part: “The word
‘property’ in the Takings Clause includes every sort of interest a citizen may possess and is not
limited ownership. The government improperly construes the word ‘property’ as being
synonymous with ‘ownership.’” Pls.’ Resp. at 7. Plaintiffs also contend, “oysters constitute
‘property’ within the meaning of Louisiana law” because “Louisiana’s statutory scheme for the
leasing of state-owned bottoms to private parties for the purpose of oyster farming gives the
Plaintiffs the right to possess and sell the oysters they grow on the water bottoms leased from the
State of Louisiana, and to enjoy the profits derived therefrom.” Id. at 11. In their supplemental
brief, plaintiffs argue, “this Court should reject the government’s invitation to disregard the
Federal Circuit’s decision in the federal Avenal case and to follow instead the Louisiana Supreme
Court’s decision in the state Avenal case.” Pls.’ Suppl. Br. at 4.

        Plaintiffs argue in their surreply, “Louisiana’s statutory scheme for the leasing of state-
owned bottoms to private parties for the purpose of oyster farming gives the Plaintiffs the right to
possess the oysters they grow on the water bottoms they lease from the State of Louisiana and
through possession they own the oysters they grow on those leases.” Pls.’ Surreply Suppl. at 3.
Plaintiffs also argue “[t]his Court has jurisdiction over this suit pursuant to 28 U.S.C. § 1497.”
Id. at 13.

IV. Applicable Law

       A. Filing a Surreply

        A party “may not raise new arguments in a reply brief.” CliniComp Int’l, Inc. v. United
States, 135 Fed. Cl. 477, 482 (2017). “The standard for granting a leave to file a surreply is
whether the party making the motion would be unable to contest matters presented to the court
for the first time in the opposing party’s reply.” Lewis v. Rumsfeld, 154 F. Supp. 2d 56, 61
(D.D.C. 2001) (denying the petitioner’s motion to file a surreply because it did not involve a new
matter but rather an alleged mischaracterization). The decision to grant or deny leave to file a
surreply is committed to the sound discretion of the court, and the court considers whether the
surreply is helpful to the adjudication of the motion and whether defendant will be unduly
prejudiced if the court grants leave. Plunkett v. Dep’t of Just., 249 F. Supp. 3d 73, 74 n.2
(D.D.C. 2017), aff’d sub nom. Plunkett v. Doe, No. 17-5087, 2018 WL 1388574 (D.C. Cir. Feb.
21, 2018) (citation and quotations omitted).




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        B. The Government’s Motion to Dismiss Pursuant to RCFC 12(b)(6)

         The Court must dismiss a complaint that fails to state a claim upon which relief can be
granted pursuant to RCFC 12(b)(6). See Lindsay v. United States, 295 F.3d 1252, 1257 (Fed.
Cir. 2002). To defeat a RCFC 12(b)(6) motion to dismiss, plaintiffs must show the complaint
contains facts sufficient to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal,
556 U.S. 662, 678 (2009) (citation omitted); TrinCo Inv. Co. v. United States, 722 F.3d 1375,
1380 (Fed. Cir. 2013). This showing “requires more than labels and conclusions, and a
formulaic recitation of the elements of a cause of action . . . .” Bell Atl. Corp. v. Twombly, 550
U.S. 544, 555, 570 (2007) (citation omitted). When the factual allegations of a complaint, even
if true, do not support a claim for relief, this basic deficiency should be exposed at the point of
minimum expenditure of time and money by the court and the parties. Id. at 557–58; see also
Abbott Lab’ys. v. Brennan, 952 F.2d 1346, 1354 (Fed. Cir. 1991) (stating dismissal “is
appropriate if it is clear that no relief could be granted under any set of facts that could be proved
consistent with the allegations.” (citation and quotation marks omitted)).

        When evaluating a RCFC 12(b)(6) motion to dismiss for failure to state a claim upon
which relief may be granted, the Court “must accept as true all the factual allegations in the
complaint, and must indulge all reasonable inferences in favor of the non-movant.” Sommers Oil
Co. v. United States, 241 F.3d 1375, 1378 (Fed. Cir. 2001) (citations omitted). The Court should
not, however, “accept inferences drawn by plaintiffs if such inferences are unsupported by the
facts set out in the complaint. Nor must the court accept legal conclusions cast in the form of
factual allegations.” Kowal v. MCI Commc’ns. Corp., 16 F.3d 1271, 1276 (D.C. Cir. 1994)
(citing Papasan v. Allain, 478 U.S. 265, 286 (1986)).

        C. The Fifth Amendment and the Application of State Law

        The Takings Clause of the Fifth Amendment provides “private property” may not “be
taken for public use, without just compensation.” U.S. Const. amend. V. Thus, to prevail on a
takings claim, a plaintiff first must demonstrate that he has a protectable property interest.
Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1000 (1984). “Generally speaking, state law
defines property interests . . . .” Stop the Beach Renourishment, Inc. v. Fla. Dep’t of Env’t Prot.,
560 U.S. 702, 707 (2010) (citation omitted). This is because “[p]roperty interests . . . are not
created by the Constitution. Rather they are created and their dimensions are defined by existing
rules or understandings that stem from an independent source such as state law . . . .” Bd. of
Regents of State Colls. v. Roth, 408 U.S. 564, 577 (1972).

        D. Property Interests Under Louisiana Law

       “Louisiana’s oyster cultivation is governed by both legislative statutes (Louisiana
Revised Statutes, Title 56) and rules promulgated by the Wildlife and Fisheries Commission
(Louisiana Administrative Code, Title 76).” Compl. at 18.

        The Fifth Circuit explains, under Louisiana law, the essential features of the “bundle of
rights” commonly characterized as “property” are as follows:



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        (1) usus—the right to use or possess, i.e., hold, occupy, and utilize the property; (2)
        abusus—the right to abuse or alienate, i.e., transfer, lease, and encumber the
        property, and (3) fructus—the right to the fruits, i.e., to receive and enjoy the
        earnings, profits, rents, and revenues produced by or derived from the property.

Dennis Melancon, Inc. v. City of New Orleans, 703 F.3d 262, 269 (5th Cir. 2012) (quoting
Rodrigue v. Rodrigue, 218 F.3d 432, 436–37 (5th Cir. 2000)).

V. Whether Plaintiffs’ Show Good Cause Sufficient to File a Surreply

        Plaintiffs seek leave to file a surreply “in order to address various issues first raised in the
United States’ Reply.” Pls.’ Surreply Mot. at 1. Plaintiffs argue, “[i]n its Reply at p. 5, the
government for the first time cites to an Opinion issued by the Louisiana State Attorney
General,” and “Plaintiffs must respond to the government’s new arguments that use the word
possession, because that word has special meaning under Louisiana law.” Id. at 2 (emphasis
altered). Plaintiffs also state they must respond to the government’s argument regarding
“Louisiana Civil Code art. 3413 and Revised Statute 14:67(A)” which plaintiffs assert the
government cites for the first time in its reply brief. Id. The government responds, “Plaintiffs’
Surreply . . . merely repeats the same argument Plaintiffs make in their Opposition” and thus the
Court should deny plaintiff’s motion for leave to file a surreply. Def.’s Surreply Resp. at 2.

        A party “may not raise new arguments in a reply brief.” CliniComp Int’l, Inc., 135 Fed.
Cl. at 482. “The standard for granting a leave to file a surreply is whether the party making the
motion would be unable to contest matters presented to the court for the first time in the
opposing party’s reply.” Lewis v. Rumsfeld, 154 F. Supp. 2d 56, 61 (D.D.C. 2001) (denying
petitioner’s motion to file a surreply because it did not involve a new matter but rather an alleged
mischaracterization). “The decision to grant or deny leave to file a surreply is committed to the
sound discretion of the court, and in making its decision, the court may consider whether the
surreply is helpful to the adjudication of the motion and whether defendant will be unduly
prejudiced if the court grants leave.” Plunkett, 249 F. Supp. 3d at 74 n.2 (citation and quotations
omitted). Given the parties’ surreply briefing provides useful clarifications to this complex case
and the government does not aver it will be unduly prejudiced, the Court grants plaintiffs’
motion for leave to file a surreply, which is deemed filed. See Ute Indian Tribe of Uintah &
Ouray Indian Rsrv. v. United States, 145 Fed. Cl. 609, 617 n.6 (2019) (granting the Tribe’s
motion to file a surreply because the surreply provided helpful clarifications). Accordingly, the
Court will consider the arguments in plaintiffs’ surreply supplement as well as the government’s
arguments in response.

VI. Precedential Value of Louisiana Supreme Court Decisions and Other Sources of Law

        Both parties agree Louisiana state law is “[e]xclusively controlling.” Tr. at 91:19–25;
Def.’s Suppl. Br. at 1. The parties, however, disagree as to whether Louisiana’s civil law regime
affects the precedential value of Louisiana Supreme Court decisions on this Court. The
government argues a single Louisiana Supreme Court decision binds this Court, whereas
plaintiffs aver the following order of precedence: (1) Louisiana Civil Code; then (2) Louisiana



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Revised Statutes; then (3) Federal Circuit and other federal circuit court case law; and then (4) a
“series of” Louisiana state court interpretations. Tr. at 92:2–93:9.

        In Louisiana, a civil code jurisdiction, “[t]he sources of law are legislation and custom.”
La. Civ. Code Ann. art. 1. Louisiana courts may look to “persuasive or secondary sources of law
such as jurisprudence, doctrine, conventional usages, and equity,” La. Civ. Code Ann. art. 1 cmt.
B; however, “[j]udicial decisions . . . are not intended to be an authoritative source of law in
Louisiana . . . . [O]ur civilian tradition does not recognize the doctrine of stare decisis in our
state.” Eagle Pipe & Supply, Inc. v. Amerada Hess Corp., 79 So. 3d 246, 256 (La. 2011)
(quoting Doerr v. Mobil Oil Corp., 774 So. 2d 119, 128 (La. 2000), opinion corrected on reh’g,
782 So. 2d 573 (La. 2001)). Rather than applying stare decisis, Louisiana courts recognize
jurisprudence constante, which “operates with ‘considerable persuasive authority’” where “a
series of decisions form a ‘constant stream of uniform and homogeneous rulings having the same
reasoning[.]’” Id. (quoting Doerr, 774 So. 2d at 128). The Court must therefore determine the
precedential value, if any, of Louisiana Supreme Court interpretations of Louisiana law and how
these interpretations rank against other sources of law such as state statutes and traditional
property principles.

       A. Whether Louisiana Supreme Court Decisions Bind Federal Courts

        The government asserts “Louisiana’s civil law regime does not affect this Court’s
reliance on Louisiana Supreme Court decisions.” Def.’s Suppl. Br. at 1. The government states
“Louisiana courts follow a ‘hybrid Civil Law/common law approach’ . . . [which] means the
Louisiana Supreme Court itself may, on rare occasion, depart from its own controlling
precedent . . . [but] other courts are themselves bound to the decisions of the Louisiana Supreme
Court.” Id. at 2–3 (citations omitted). For support, the government cites several cases where the
Louisiana Supreme Court stated their decisions bind Louisiana lower courts. See id. at 3. The
government similarly asserts, “[i]n Fifth Amendment cases, [the Court of Federal Claims] and
other federal courts have evaluated Louisiana property law by deferring to the Louisiana
Supreme Court’s interpretation of state law.” Id. at 3–4 (citing Nat’l Food & Beverage Co. v.
United States, 103 Fed. Cl. 63, 68 (2012); United States v. 0.073 acres of land, more or less,
situate in Pars. of Orleans & Jefferson, Louisiana, 705 F.3d 540, 545 (5th Cir. 2013)).

        The government continues, “[t]he Court’s evaluation of Louisiana state law here is nearly
identical to the exercise an Article III court undertakes when applying state law in a diversity
case under [the Erie doctrine].” Id. at 4. “The Fifth Circuit has made such assessments of
Louisiana state law on numerous occasions, and it consistently holds in such circumstances that
the federal court’s task is ‘to determine as best [we] can [how] the Louisiana Supreme Court
would decide it.’” Id. (quoting Jorge-Chavelas v. Louisiana Farm Bureau Cas. Ins. Co., 917
F.3d 847, 850 (5th Cir. 2019)). The government cites Keenan v. Donaldson, Lufkin & Jenrette,
Inc., 529 F.3d 569, 573 (5th Cir. 2008), for the principle “[a] final decision of the Louisiana
Supreme Court on the issues presented would be controlling.” The government contends,
“[f]ederal courts make a so-called ‘Erie guess about Louisiana law’ only when there exists an
‘absence of a controlling high court decision . . . .’” Def.’s Suppl. Br. at 5 (quoting Jorge-
Chavelas, 917 F.3d at 850–51). The government adds Louisiana “allows the United States
Supreme Court or Article III appellate courts to certify ‘questions or propositions of law of this

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state’ where ‘there are no clear controlling precedents in the decisions of the supreme court of
this state’ to the Louisiana Supreme Court for resolution.” Id. at 4 n.3 (quoting La. Sup. Ct. R.
XII). 2 The government considers this rule “nonsensical if the decisions of the Louisiana
Supreme Court did not create ‘controlling precedents.’” Id.

        The government also argues this Court should follow Louisiana Supreme Court decisions
because Louisiana jurisprudence states “when a law has been interpreted by the Louisiana
Supreme Court, and the legislature has not seen fit to change that law, it must be assumed that
the legislature has adopted such interpretation.” Id. at 6 (quoting LaFourche Par. Water Dist.
No. 1 v. Digco Util. Const., L.P., 275 So. 3d 20, 25 (La. App. 1 Cir. 2019), writ denied, 274 So.
3d 1257 (La. 2019)). The government states, “‘it must be assumed,’ LaFourche Par[.], 275 So.
3d at 25, that the Louisiana legislature has adopted the Louisiana Supreme Court’s interpretation
of state law” when “[t]he Louisiana legislature has not enacted new laws to change [a Louisiana
Supreme Court] holding despite having ample opportunity over nearly two decades to do so.”
Def.’s Suppl. Br. at 7. The government also asserts “Louisiana law provides that court decisions
addressing a ‘rule of property’ must be followed unless the Louisiana legislature adopts a
legislative change.” Id.

        To the government’s contention that Louisiana state courts are bound by decisions of the
Louisiana Supreme Court, plaintiffs respond, “that is debatable” and “that intermediate
[Louisiana state] courts may follow decisions of the Louisiana Supreme Court does not mean
that this federal Court is bound by those decisions.” Pls.’ Resp. Suppl. Br. at 6. Plaintiffs also
argue, “[t]he fact that other federal courts may rely on Louisiana court decisions as persuasive
sources of law does not mean this Court is bound by any decision of the Louisiana Supreme
Court.” Id. Plaintiffs also state, “a single decision by the Louisiana Supreme Court on the issue
for which the government has cited it, is not binding on this Court.” Id. at 7–8 (citing Boyett v.
Redland Ins. Co., 741 F.3d 604 (5th Cir. 2014); Bergeron v. Richardson, 320 So. 3d 1109 (La.
2021)).

       Plaintiffs argue there is no judicially established “rule of property” in Louisiana law
because Louisiana adopted a new constitution in 1974 stating judicial decisions are not sources
of law but rather interpretations. Id. at 8. Jurisprudence constante is summarized as “a series of
decisions form[ing] a constant stream of uniform and homogeneous rulings having the same
reasoning,” see Boyette, 741 F.3d at 607 n.19, so plaintiffs aver “one single state [Supreme
Court] case lacks the consistency required to become even considerable persuasive authority,
much less an authoritative expression of law,” Pls.’ Resp. Suppl. Br. at 9.


2
  Federal courts generally certify complex questions of state law, such as whether plaintiffs have compensable rights
in oysters against the United States under Louisiana law, to the state’s highest court. See, e.g., Borcik v. Crosby
Tugs, L.L.C., 222 So. 3d 672, 673 (La. 2017) (defining “‘good faith’ as used in R.S. 30:2027” upon certification by
the Fifth Circuit). The Louisiana Supreme Court, however, only allows “the Supreme Court of the United States,
or . . . any circuit court of appeal of the United States” to certify questions involving Louisiana state law; there is no
express allowance for a federal district court or an Article I trial court to certify a question. La. Sup. Ct. R. XII.
Although it would be beneficial to certify this question, this Court cannot certify a question to the Louisiana
Supreme Court, therefore this Court must itself decide this tough issue of Louisiana state law. Id. Notably, the
Federal Circuit as a “circuit court of appeal of the United States” could certify this question to the Louisiana
Supreme Court. Id.

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         A federal court “has a duty to determine state law as it believes the State’s highest court
would,” Hulin v. Fibreboard Corp., 178 F.3d 316, 328 (5th Cir. 1999), and “[a] final decision of
the Louisiana Supreme Court on the issues presented would be controlling,” Keenan, 529 F.3d at
573. 3 If Louisiana Supreme Court precedent does not decide the issues presented because it is
distinguishable from the case at hand, this Court “must determine, in our best judgment, how we
believe [the Louisiana Supreme Court] would resolve the issue.” Boyett, 741 F.3d at 607
(stating, “[a]s the Louisiana Supreme Court has not addressed [the two issues in this case], the
district court had to make an ‘Erie guess’ as to these two issues.”); see 0.073 Acres of Land, 705
F.3d at 543 (“Neither [the Fifth Circuit] nor Louisiana courts have ruled whether the right to
collect assessments, or real covenants generally, are compensable under the Takings Clause” so
the Fifth Circuit considered the Louisiana Civil Code, statutes, jurisprudence, common law, and
public policy to conclude the homeowners’ association’s right to collect assessments from
townhome owners are not compensable property interests under the Takings Clause).

         The government correctly offers National Food as an example where this court deferred
to Louisiana Supreme Court precedent; however, Judge Lettow followed the Louisiana Supreme
Court’s constructions of mineral servitude reservations because “[n]o reason ar[ose] to give the
term . . . a broader meaning than has been ascribed to similar phrases by the Louisiana Supreme
Court.” Nat’l Food, 103 Fed. Cl. at 68 (holding “[u]nder Louisiana law, National Food has a
compensable property interest in the clay located on its land.”). The court’s language implies it
might not have followed Louisiana Supreme Court precedent if a compelling reason arose to do
otherwise. Id.

         The government’s “rule of property” argument also presumes the Louisiana Supreme
Court has decided the specific issues presented in this case and the Louisiana legislature did not
see fit to change the law. LaFourche Par., 275 So. 3d at 25. If the Louisiana Supreme Court has
not decided the issues presented in this case, then the legislature would not have reason to
change the law and consequently the Louisiana Supreme Court’s interpretation would not bind
this Court as a “rule of property.” See id. (following a Louisiana Supreme Court interpretation
when “the Supreme Court has specifically instructed [the relevant statutory interpretation].”).
The government’s statement a court must follow a prior decision if the legislature has not
modified it, is also incomplete—a more complete statement is as follows: “when the
jurisprudence has consistently established a uniform interpretation of a statute that governs
property rights, that jurisprudence constitutes a ‘rule of property’ which must be followed absent
a legislative mandate to the contrary.” Garrett v. Pioneer Prod. Corp., 390 So. 2d 851, 856 (La.

3
  Note, however, if the Louisiana Supreme Court were considering whether plaintiffs have compensable rights in
oysters against the United States under Louisiana law, it would not be bound by its own precedent. According to the
Louisiana Supreme Court, “a single decision is not binding on our courts.” Eagle Pipe & Supply, Inc., 79 So. 3d
246, 256 (La. 2011); Unwired Telecom Corp. v. Par. of Calcasieu, 903 So. 2d 392, 405–06 (La. 2005); Doerr, 774
So. 2d at 128. “Indeed, ‘[s]tare decisis is foreign to the Civil Law, including Louisiana.’” Am. Int’l Specialty Lines
Ins. Co. v. Canal Indem. Co., 352 F.3d 254, 260 (5th Cir. 2003); see also Bergeron, 320 So. 3d at 1116 (stating,
“[j]urisprudence constante does not preclude us from overruling [precedent] and applying the plain language of [the
statute].”). While the Louisiana Supreme Court is not bound by its own prior rulings, Louisiana “[t]rial courts and
courts of appeal are bound to follow the last expression of law of the Louisiana Supreme Court.” Lucky v. Fricks,
511 So. 2d 1315, 1317 (La. App. 2 Cir. 1987), writ denied, 514 So. 2d 455 (La. 1987); see Pelican State Assocs.,
Inc. v. Winder, 219 So. 2d 500, 503 (La. 1969) (“[T]he appellate courts of this state are bound to follow decisions of
this court . . . .”). Thus, if the Federal Circuit certified the state law issue of this case to the Louisiana Supreme
Court, the court would not be bound by its own precedent.

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1980) (citations omitted). Accordingly, a rule of property requires a “consistently established,”
“uniform interpretation” by the Louisiana Supreme Court, thus a single Louisiana Supreme
Court decision is insufficient to establish a “rule of property.” See id. at 856.

        If Louisiana Supreme Court precedent decides “the issues presented,” Keenan, 529 F.3d
at 573, this Court must follow it, otherwise this Court must determine “state law as it believes the
State’s highest court would.” Hulin, 178 F.3d at 328; see also Boyett, 741 F.3d at 607; Keenan,
529 F.3d at 573; Nat’l Food, 103 Fed. Cl. at 68. This Court therefore must understand how the
Louisiana Supreme Court would interpret state law. See supra note 2.

       B. How the Louisiana Supreme Court Decides Issues of Louisiana Law

         According to the government, “Louisiana law provides that ‘[t]he sources of law are
legislation and custom’ . . . [but] interpretation of the law belongs to the judiciary.” Def.’s
Suppl. Br. at 2 (citations omitted). Plaintiffs respond, “the government incorrectly states that the
Louisiana constitution, the Civil Code and Louisiana statutes are the primary sources of law and
court decisions are treated as secondary sources of law.” Pls.’ Resp. Suppl. Br. at 5. Plaintiffs
state, “[u]nder the Louisiana Civil Code, legislation and custom are the only authoritative
sources of law. . . . Jurisprudence, doctrine, conventional usages, and equity are merely
persuasive sources of law.” Id. at 5–6 (quoting Hulin, 178 F.3d at 320).

          In Louisiana, a civil code jurisdiction, “[t]he sources of law are legislation and
 custom.” La. Civ. Code Ann. art. 1 (2021). Legislation is defined as, “a solemn expression of
 legislative will.” La. Civ. Code Ann. art. 2 (2021). “Custom results from practice repeated for
 a long time and generally accepted as having acquired the force of law” and although custom
 is a primary source of law, it “may not abrogate legislation.” La. Civ. Code Ann. art. 3 (2021).
 Custom reflects two elements: (1) “long practice (longa consuetudo)”; and (2) “the conviction
 that the practice has the force of law (opinio necessitatis or opinio juris).” La. Civ. Code Ann.
 art. 3 cmt. (b). “According to civilian doctrine, legislation and custom are authoritative or
 primary sources of law. . . . [As] contrasted with persuasive or secondary sources of law, such
 as jurisprudence, doctrine, conventional usages, and equity, that may guide the court in
 reaching a decision in the absence of legislation and custom.” La. Civ. Code Ann. art. 1 cmt.
 (b) (citing Yiannopoulos, Louisiana Civil Law System Sections 31, 32 (1977)); see also
 Bergeron, 320 So. 3d at 1116 (citations omitted) (stating “jurisprudence, even when it arises to
 the level of jurisprudence constante, is a secondary law source.”). Since jurisprudence only
 serves as a secondary source in Louisiana, the Louisiana Supreme Court has declared “the
 decisions of a court of last resort are not the law, but only the evidence of what the court thinks
 is the law.” Norton v. Crescent City Ice Mfg. Co., 150 So. 855, 858 (La. 1933); accord Constr.
 Materials, Inc. v. Am. Fid. Fire Ins. Co., 388 So. 2d 365, 367 (La. 1980) (“Previous statements
 even by this Court cannot supersede what we now see is the plain letter and intent of the
 statute.”).

      Although the Louisiana Supreme Court is not bound by its previous decisions, this Court
is bound by a Louisiana Supreme Court decision if it resolves the issues presented. Keenan, 529
F.3d at 573. Absent controlling precedent, the relevant question is how the Louisiana Supreme
Court decides unresolved legal issues. Id. In Keenan, the Fifth Circuit wrote “Louisiana’s

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interpretive methodology on unresolved legal issues is to examine first the primary sources of
law: the constitution, codes, and statutes. Jurisprudence is secondary, even where numerous
lower court decisions are in accord on an issue.” Id. (citing In re Katrina Canal Breaches Litig.,
495 F.3d 191, 206 (5th Cir. 2007)); see also Transcon. Gas Pipe Line Corp. v. Transp. Ins. Co.,
953 F.2d 985, 988 (5th Cir. 1992) (“[T]he primary basis of law for a civilian is legislation, and
not (as in the common law) a great body of tradition in the form of prior decisions of the courts.”
(quoting Albert Tate, Jr., Techniques of Judicial Interpretation in Louisiana, 22 La. L. Rev. 727
(1962))). “Nevertheless, while state law generally defines what constitutes a property interest,
‘unwritten common law’ or ‘policies and practices’ also can rise to the level of creating ‘property
interests.’” Melancon, 703 F.3d at 269 (citing Perry v. Sindermann, 408 U.S. 593, 602–03
(1972)).

        This Court must first decide whether any Louisiana Supreme Court case resolves the
issues presented, and if so, the Court must follow it. Keenan, 529 F.3d at 573. If no Louisiana
Supreme Court case decides the issues presented, this Court “must determine, in [its] best
judgment, how [it] believe[s the Louisiana Supreme Court] would resolve the issue . . . [by]
employ[ing] Louisiana’s civilian methodology in the same manner as would the Louisiana
Supreme Court.” Boyett, 741 F.3d at 607. Absent a controlling Louisiana Supreme Court
decision, this Court must apply Louisiana’s interpretive methodology by “examin[ing] first the
primary sources of law: the constitution, codes, . . . statutes[, and custom].” Keenan, 529 F.3d at
573 (citing In re Katrina Canal Breaches Litig., 495 F.3d at 206). If the primary sources are
inconclusive, the Court will consider secondary sources such as: doctrine, conventional uses,
and equity. La. Civ. Code Ann. art. 1 cmt. (b). In short, if the Louisiana Supreme Court has
decided “the issues presented” this Court sits as a Louisiana lower court, whereas if Louisiana
Supreme Court has not decided “the issues presented,” this Court sits as would the Louisiana
Supreme Court itself. Keenan, 529 F.3d at 573.

VII. Whether Plaintiffs Have Compensable Property Interests in Oysters as Against the
     United States Under Louisiana State Law

        Both parties in this case agree Louisiana state law is “[e]xclusively controlling.” Tr. at
91:19–25; Def.’s Suppl. Br. at 1. The parties also recognize Louisiana’s Oyster Statutes provide
public water bottom oyster lessees with certain rights while reserving other rights for the
government. Def.’s MTD at 4–5; Pls.’ Resp. at 11–12. With an understanding of the
precedential value of Louisiana Supreme Court decisions, this Court first must consider whether
any Louisiana Supreme Court opinion decides the issue presented and absent a controlling
decision, the Court must apply Louisiana’s interpretive methodology by looking first to the
authoritative sources of law in the State of Louisiana—legislation and custom.

       A. Whether the Louisiana Supreme Court’s Avenal Decision Holds Plaintiffs Lack
          Compensable Property Rights in Oysters as Against the United States

        In Avenal, the Louisiana Supreme Court considered whether “oyster fishermen holding
oyster leases in the Breton Sound area . . . suffered a compensable taking under [the Louisiana
Constitution] as a result of the State of Louisiana’s operation of the Caernarvon Freshwater
Diversion Structure (‘Caernarvon’), which altered salinity levels in the waters covering the

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oyster fishermen’s leases.” Avenal, 886 So. 2d at 1088. “In anticipation of the operation of
Caernarvon, in 1989, [the Louisiana Department of Wildlife and Fisheries] inserted a clause in
its lease form, requiring that the State be indemnified and held harmless for any claims related to
coastal restoration.” Id. at 1090. The court held “the vast majority of the oyster fisherman are
not entitled to compensation under [the Louisiana Constitution] because their leases contain
clauses holding the State harmless from any loss or damage resulting from this coastal diversion
project.” Id. at 1088. The Louisiana Supreme Court also considered “whether plaintiffs’
property was ‘taken’ for a public purpose, or whether it was ‘damaged’ for a public purpose”
because “although the Louisiana Constitution provides that just compensation shall be paid when
property is taken or damaged, [La. Stat. Ann. § 13:5111] provides a three-year prescriptive
period for takings and [La. Stat. Ann. § 9:5624] provides a two-year prescriptive period for
damage.” Id. at 1104–05 (emphasis altered). The court stated, “[p]roperty is considered
‘damaged’ when the action of the public authority results in the diminution of the value of the
property,” id. at 1105 (citations omitted), and held “the claims of the oyster fishermen whose
leases do not contain hold harmless clauses have prescribed under [La. Stat. Ann. § 9:5624],” id.
at 1088. 4

        The government moves to dismiss plaintiffs’ complaint under RCFC 12(b)(6) arguing,
“[t]he Court should dismiss the portion of Plaintiffs’ claim alleging a taking of the oysters
themselves because, pursuant to Louisiana state law, Plaintiffs lack a compensable property right
in the oysters.” Def.’s MTD at 1. The government continues as follows: “In rejecting the
Avenal v. State plaintiffs’ claims, the Louisiana Supreme Court confirmed that ‘[t]he state owns
the waters. [La. Stat. Ann. § 9:1101.] The state owns the oysters. La. Stat. Ann. § 56:3. Thus,
the [s]tate could not take its own property.’” Def.’s MTD at 6 (citing Avenal, 886 So. 2d at
1106). Further, the government argues the Louisiana Supreme Court’s interpretation of
Louisiana state law in Avenal “squarely resolved the question presented in the United States’
Motion to Dismiss in Part . . . and is binding authority.” Def.’s Suppl. Br. at 1 (citing Avenal,
886 So. 2d 1085).

         Plaintiffs respond, “[t]he state Avenal case did not address, much less resolve, the central
issue presented in the government’s Motion to Dismiss.” Pls.’ Suppl. Br. at 4. Plaintiffs argue
Avenal is irrelevant because it “did not involve a takings claim based on a violation of the United
States Constitution[,]” rather it involved “takings claims based on violations of the Louisiana
Constitution.” Id. Plaintiffs further aver Avenal “is not applicable and certainly not controlling
in this case,” id. at 5, as the decision was ultimately made “by the Louisiana Supreme Court on
the basis of the applicable statute of limitations,” id. at 3, and the Avenal plaintiffs “did not claim
damage to the oysters” but instead to “their oyster leases,” id. at 5.

        A federal court “has a duty to determine state law as it believes the State’s highest court
would,” Hulin, 178 F.3d at 328, and “[a] final decision of the Louisiana Supreme Court on the
issues presented would be controlling,” Keenan, 529 F.3d at 573. To the extent the Louisiana
Supreme Court in Avenal held plaintiffs do not have compensable property rights in oysters, this

4
 The same Avenal plaintiffs also brought a claim in the Court of Federal Claims. See Avenal v. United States, 33
Fed. Cl. 778 (1995), aff’d on other grounds, 100 F.3d 933 (Fed. Cir. 1996). The parties in this case also cite the
Federal Circuit decision, so to avoid confusion, this Court will refer to the Federal Circuit Avenal decision as
“Federal Circuit Avenal” or “Federal Avenal.” See Avenal v. United States, 100 F.3d 933 (Fed. Cir. 1996).

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holding would likely be decisive if plaintiffs in this case were claiming just compensation under
the Louisiana Constitution against the State of Louisiana; but here, plaintiffs are seeking just
compensation under the United States Constitution against the United States. In other words,
plaintiffs versus the United States is different than plaintiffs versus Louisiana—the Louisiana
Supreme Court may hold differently if the United States were defendant instead of the State of
Louisiana. The Louisiana Supreme Court alluded to this distinction in Avenal by stating “the
rights granted in [La. Stat. Ann. § 56:423(B)] have never been recognized by this Court as
anything other than rights granted against third parties to the leases, such as oil companies, not
against the State.” Avenal, 886 So. 2d at 1100. The court thus distinguished between “the State
[of Louisiana]” and “third parties to the leases.” Id. In Avenal, the Louisiana Supreme Court
continually referred to property rights “against the state” which might indicate the Louisiana
Supreme Court intended its holding to be limited to claims against the State of Louisiana. See id.
at 1085. Contrary to the government’s arguments, plaintiffs must have some property rights in
oysters because, throughout the Avenal opinion, the Louisiana Supreme Court applied property
principles to oyster beds and profits. See, e.g., id. at 1107 (“[Caernarvon] may have damaged
[plaintiffs’] property rights in their oyster beds and the profits generated by the oysters that grow
upon them.”).

        To support its holding, the Avenal court also cited a law review article by “one
commentator” who discussed the policy implications of the Louisiana appellate court’s Avenal
decision and argued it should be reversed on appeal. Id. at 1106 (quoting Robert L. Rogers, III,
Turning River Water into Gold: Why Oyster Harvesters should not be Permitted to Cash In On
Changes in Salinity Caused by the Caernarvon Water Diversion Project, 22 Va. Envtr. L.J. 53
(2003)); see Rogers, supra, at 72 (“[t]he State of Louisiana should not be forced to pay billions
of dollars in damages for a project that is not only good for the environment, but is also needed
to protect Louisiana’s economy.”). In this article, the commentator refers to compensable rights
against the State of Louisiana which reinforces the key distinction that Avenal involves claims
against the State of Louisiana whereas this case involves claims against the United States. See,
e.g., Rogers, supra, at 70 (“Louisiana law does not provide a right enforceable against the state
for future profits provided by the cultivation of oysters on the leased beds.”). As the United
States is defendant, not the State of Louisiana, the Louisiana Supreme Court may decide this
case differently than Avenal absent Avenal’s key policy implications. See Rogers, supra, at 55.

       Avenal is also distinguishable as it involved takings claims based on the Louisiana
Constitution, whereas this case involves a takings claim based on a violation of the United States
Constitution. 5 Avenal, 886 So. 2d at 1092. Further, the Avenal plaintiffs did not claim damage

5
  In relevant part, the Louisiana Constitution reads, “[p]roperty shall not be taken or damaged by the state,” La.
Const. art. I, § 4, consequently Louisiana distinguishes between “damages” and “takings,” see Avenal, 886 So. 2d at
1104 (“In this case, the relevant consideration is whether plaintiffs’ property was ‘taken’ for a public purpose, or
whether it was ‘damaged’ for a public purpose.”). “In sum, because the Louisiana Constitution provides for
compensation for property ‘taken’ or ‘damaged,’ what is considered ‘taken’ is a narrower concept in Louisiana when
contrasted with federal law.” Avenal, 886 So. 2d at 1113 (Weimer, J., concurring). In Avenal, the Louisiana
Supreme Court noted the distinction between these two categories was crucial “because of the existence of two
relevant prescription statutes.” Id. at 1104. “[A]lthough the Louisiana Constitution provides that just compensation
shall be paid when property is taken or damaged, [La. Stat. Ann. § 13:5111] provides a three-year prescriptive
period for takings and [La. Stat. Ann. § 9:5624] provides a two-year prescriptive period for damage.” Id. at 1105
(emphasis in original).

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to the oysters, rather only to the oyster leases. Id. at 1091 (“asserting that their oyster leases
were destroyed or damaged because of the intrusion of freshwater from the Mississippi River by
the Caernarvon project”).

        Another distinction is Avenal was entirely related to a freshwater diversion stemming
from the control and management of coastal wetlands, whereas this case is entirely related to
preventing the Mississippi River from flooding the City of New Orleans given significant rain far
north of New Orleans. 6 See id. at 1090; see also Rogers, supra, at 73 (“[the Caernarvon project]
provides tremendous public benefit by preserving Louisiana’s coastal wetlands.”). “The
Caernarvon project . . . was designed to abate saltwater intrusion and marine tidal invasion, while
promoting coastal restoration and enhancing fisheries and wildlife in the basin.” Avenal, 886 So.
2d at 1090. For the Caernarvon project, “[t]he [Louisiana Department of Natural Resources] and
[Louisiana Department of Wildlife and Fisheries] set optimal target salinity zones in Breton
Sound[.]” Id. “The optimal salinity regime targeting annual average isohalines in concentration
between 5 ppt and 15 ppt allowed oyster propagation and cultivation to continue in an existing
zone within Breton Sound, while at the same time fostered coastal restoration by freshening the
upper Breton Basin and allowing vegetation to return in an area where little oyster production
was occurring.” Id. Plaintiffs explain the Caernarvon project’s objective was to “restore[] the
salinity to the levels that existed before all the saltwater came in through the [Mississippi River
Gulf Outlet].” Tr. at 24:15–19. Plaintiffs continue, the Avenal plaintiffs, “knew or should have
known” the Caernarvon project would restore salinity levels and thus they could not claim “they
lost anything, because when they went into business, they already knew that this could happen
later, meaning the changing back of the water salinity levels.” Tr. at 24:21–25:1.

        In this case, the fundamental purpose of the Bonnet Carré Spillway is to “keep the
[Mississippi] river from overtopping its levees, thus averting the flooding of the City of New
Orleans.” Compl. at 2. Unlike Avenal, when the government operates the Bonnet Carré
Spillway, salinity changes may be a side-effect of the Spillway’s primary purpose—preventing
flooding. Id. at 16 (“the vast input of fresh water into these brackish and saline lakes has an
immediate, short-term adverse environmental effect.” (quoting Spillway Operational Effects,
U.S. Army Corps of Engineers, New Orleans District, https://www.mvn.usace.army.mil/
Missions/Mississippi-River-Flood-Control/Bonnet-Carre-Spillway-Overview/Spillway-
Operation-Information/)). In short, the Caernarvon project was built with the primary purpose of
affecting salinity levels to benefit oyster growers, whereas the Spillway was built to prevent the
City of New Orleans from flooding and salinity changes are an unintended adverse effect of the
Spillway project—this could be sufficiently material for the Louisiana Supreme Court to decide
this case differently. 7 For these reasons, the Court finds Avenal distinguishable—the decision
does not “decide the issues” in this case. 8



6
  This distinction might be moot under the current version of section 56:423. See infra note 27 for a full discussion
of the section 56:423(A) and (B) statutory language.
7
  This distinction might be moot under the current version of section 56:423. See infra note 27 for a full discussion
of the section 56:423(A) and (B) statutory language.
8
  The government also argues, Avenal should be followed because it establishes a “rule of property.” A single
decision is insufficient to establish “consistent rulings” to necessitate a “rule of property,” thus the Court is not
bound to follow Avenal under this argument. Garrett, 390 So. 2d at 856; see also infra note 9.

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        As Avenal does not decide the issue presented—whether oyster lessees have compensable
property rights in oysters as against the United States—this Court concludes it is not controlling.
If Louisiana Supreme Court case law does not decide the issues presented, this Court “must
determine, in [its] best judgment, how [it] believe[s the Louisiana Supreme Court] would resolve
the issue . . . [by] employ[ing] Louisiana’s civilian methodology in the same manner as would
the Louisiana Supreme Court.” Boyett, 741 F.3d at 607. Absent a controlling Louisiana
Supreme Court decision, this Court must apply Louisiana’s interpretive methodology by looking
to the authoritative sources of law in the State of Louisiana—legislation and custom, La. Civ.
Code Ann. art. 1. “Louisiana’s interpretive methodology on unresolved legal issues is to
examine first the primary sources of law: the constitution, codes, and statutes.” Keenan, 529
F.3d at 573 (citing In re Katrina Canal Breaches Litig., 495 F.3d at 206). The Court therefore
turns next to an analysis of Louisiana codes and statutes.

         B. Whether Louisiana Oyster Statutes Establish Plaintiffs Lack Compensable
            Property Rights in Oysters as Against the United States

         The government alternatively argues “even if the Court were to conclude that Avenal v.
State is not binding authority, the Court should nevertheless reach the same result—Plaintiffs
have no compensable right in the oysters themselves.” Def.’s Suppl. Br. at 2, 8–10. The
government states, “[t]he United States Constitution does not create or define the scope of
property interests compensable under the Fifth Amendment.” Def.’s MTD at 7 (citing Bd. of
Regents of State Colls., 408 U.S. at 577). Rather, the government asserts “existing rules and
understanding and background principles derived from an independent source, such as state,
federal, or common law, define the dimensions of the requisite property rights for purposes of
establishing a cognizable taking.” Id. (internal quotation marks omitted) (citing Conti v. United
States, 291 F.3d 1334, 1340 (Fed. Cir. 2002)). The government states, “[t]he Court should
dismiss the portion of Plaintiffs’ claim alleging a taking of the oysters themselves because,
pursuant to Louisiana state law, Plaintiffs lack a compensable property right in the oysters.”
Id. at 1. 9

       The government contends the Corps did not take the oysters because the State of
Louisiana owns the oysters, not the farmers. Id. at 8. To support its argument that plaintiffs lack
compensable property rights in the oysters, the government quotes Section 56:3(A) as follows:

         The ownership and title to all . . . beds and bottoms of rivers, streams, bayous,
         lagoons, lakes, bays, sounds, and inlets bordering on or connecting with the Gulf
         of Mexico within the territory or jurisdiction of the state, including all oysters and
         other shellfish and parts thereof grown thereon, either naturally or cultivated, and
         all oysters in the shells after they are caught or taken therefrom, are and remain the




9
 Federal courts typically certify complex questions of state law to the highest state court, however, as stated supra
note 2, this Court may not certify a question to the Louisiana Supreme Court as the Federal Circuit can.

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         property of the state, and shall be under the exclusive control of the Wildlife and
         Fisheries Commission except as provided in R.S. 56:4. 10

Id. at 4–5 (quoting § 56:3(A)). The government contends, section 56:3(A) affirms the state owns
all oysters. See La. Stat. Ann. § 56:3(A) (1985) (“all oysters . . . are and remain the property of
the state”). During oral argument, the government took section 56:3 to its logical extreme
stating, “there could be a good argument that even after the [oyster growers] pull them up, they
still don’t have an actual ownership interest in those oysters, even at the moment of possession,”
Tr. at 131:16–19, although the government admits “I’ve not seen a case that says that explicitly,”
Tr. at 132:11–13. The government states, “I think an argument could be made that the oysters
are still not the property of the oyster lessees, even after they’ve been harvested. And that’s just
as a result of [section] 56:3.” Tr. at 134:16–19. To the Court’s statement, “[s]o the necessary
conclusion is . . . oysters are never property, period,” the government responds, “[it] would feel
confident in making that argument . . . and that position does seem consistent with 56:3.” Tr. at
136:1–8. The Court asked if “oysters never become property, not even when the oyster grower
sells them to the restaurant,” to which the government responded, “[the government has] not seen
a case that says that. An argument could be made [under the language of 56:3].” Tr. at 134:22–
135:1. The government describes the oyster cultivation process as follows: the oyster growers
extract the oysters from the water bottom, bag them, tag the bags, weigh the bags, the state
evaluates the oysters “for health and safety purposes,” Tr. at 132:19–23, but oysters are property
of the State of Louisiana the entire time, Tr. at 131:16–19. The government argues, even when
an oyster grower sells oysters, “he’s not being paid because he’s selling something he owns[; h]e
is being paid for the fruits of his effort.” Tr. at 132:25–133:2.

        The government posits, for the policy purpose of protecting water bottoms and fostering
oyster production, “Louisiana has enacted an extensive statutory scheme, which heavily
regulates oyster leasing activities on state-owned waterbottoms.” Def.’s MTD at 3 (citing La.
Stat. Ann. § 41:1225(A) (1990)). The parties in this case agree Louisiana oysters are exclusively
governed by this extensive statutory scheme. See Compl. at 31–32 (citations omitted); Def.’s
MTD at 4–5 (citations omitted).

       The government admits, “[a]n oyster lease provides its owner ‘the exclusive use of the
water bottoms leased and of all oysters and cultch grown or placed thereon.’” Def.’s MTD at 4
(quoting La. Stat. Ann. § 56:423(A)). The government states, “[o]yster lessees have a use
right—the exclusive right to use the leased area and reduce to possession oysters located
therein—but state law is clear that they do not own the oysters located on state-owned
waterbottoms.” Def.’s Resp. Surreply at 7 (citing La. Stat. Ann. § 56:3(A); Avenal, 886 So. 2d at
1106)). The government contends, even after the water bottoms are leased, the state retains
ownership of all oysters within its jurisdiction. Def.’s MTD at 4–5 (citing La. Stat. Ann.
§ 56:3(A) (1985)). The government admits “an oyster lessee has a statutory right to sue a

10
   Despite plaintiff’s contrary argument, the government correctly asserts section 56:4 “is irrelevant for present
purposes” as it merely states the Louisiana Department of Wildlife and Fisheries exclusive control of oysters and
water bottoms is excepted by the Department of Natural Resource’s authority to grant natural resource leases.
Def.’s MTD at 5 n.2; see La. Stat. Ann. §§ 56:3–4. The government states, “[section] 56:4 is irrelevant to this case,
because this does not involve any lease that might have been issued by the Department of Natural Resources.” Tr. at
56:11–13.

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tortfeasor.” Tr. at 112:17–24 (citing La. Stat. Ann. § 56:423(B)). The government states an
oyster lessee under section 56:423 (B)(1) “shall have the right to maintain an action for damages
against any person, partnership, corporation, or other entity causing wrongful or negligent injury
or damage to the beds or grounds under lease to such lessee.” Def.’s Reply at 7 (citing La. Stat.
Ann. § 56:423 (B)(1)). 11 The government argues, however, section 423(B) “says nothing about
ownership of the oysters . . . [; i]t’s a right to sue under state law and nothing more.” Tr. at
116:8–11. The government contends the property right described in section 423 is merely “a
usufructuary, a use right,” Tr. at 110:21–23, and this use right only permits oyster growers to sue
for damages under state tort law pursuant to § 56:423, Tr. at 112:18–25. The government argues,
“the right to sue for a tort in state law is not the same as a compensable property right in oysters
themselves.” Tr. at 118:17–19. The government also distinguishes oyster leases from “other
types of leases” as oyster lessee “property rights are created, defined, and limited by state law. 12
Def.’s MTD at 7–8 (citing Slavich v. State, Dep’t of Wildlife & Fisheries, 994 So. 2d 85, 94 (La.
App. 1 Cir. 2008), writ denied sub nom. Slavich v. State ex rel. Dep’t of Wildlife & Fisheries,
996 So. 2d 1111 (La. 2008)).

        Plaintiffs concede section 56:3(A) provides “the State owns the oysters,” Tr. at 54:8–9,
but plaintiffs note section 56:3(B) states “title of the state to all [oysters] . . . always remains in
the state for the purpose of regulating and controlling the use and disposition thereof.” Pls.’
Surreply Suppl. at 10 (quoting La. Stat. Ann. § 56:3(B) (emphasis altered)). Plaintiffs also
contend 56:3(A) alone is not decisive in this case, explaining, “[under] 56:423, a lessee shall
enjoy the exclusive use of the water bottoms lease and of all oysters.” Tr. at 54:11–13. Plaintiffs
aver, “[s]o that is a property right, the right—exclusive right to the oysters.” Tr. at 54:13–14; see
also Tr. at 78:19–20 (“[PLAINTIFFS]: . . . by the way, the title of subsection [56:423] says,

11
   See infra note 27 for a full discussion of the section 56:423(A) and (B) statutory language.
12
   During oral argument, plaintiffs provided the Court an example lease which was executed between Robert L.
Campo and the Land Manager for Louisiana’s Department of Wildlife and Fisheries. This lease includes a section
titled “Allocation Of Risk and Liability, And Indemnification” which plaintiffs note “basically . . . says . . . the State
has the right to conduct its activities related to the State’s coastal wetlands conservation and restoration plan, and
that therefore, if there is any damage caused by those efforts, there’s no claim against the State.” Tr. at 22:10–23:2
(emphasis added). Plaintiffs confirm this provision provides “the oyster growers cannot sue the State or the United
States with respect to a diversion of fresh water” with the caveat “the diversion of fresh water must be related to
coastal restoration.” Tr. at 25:2–8. The government agrees this “hold harmless language” “was the basis for the
Louisiana Supreme Court’s rejection of part of the claims in [Avenal].” Tr. at 26:2–9. Unlike Avenal, however, the
event in this case was entirely related to preventing New Orleans from flooding, so the coastal restoration exception
is not applicable as discussed supra Section VII.A. As the Court noted at oral argument, however, that the lease
excepts liability for freshwater diversion for purposes of coastal restoration “would assume that there is liability for
perhaps something else.” Tr. at 41:17–24; see also Tr. at 43:9–17 (noting from the government’s perspective the
lease language does not matter—the lease “says what it says.”). While this provision is not determinative as to
oysters being property, the provision reflects a balance of property rights and incentives to cultivate oysters versus
the State’s power to conduct projects for “coastal restoration.”

The example lease further states, “[t]his lease is issued and the water bottoms herein leased shall be held subject to
the provisions of R.S. 56:421 through 452, both inclusive, and the rules and regulations of the Department as
provided in said Act.” Although the lease was signed December 2016, and although this language suggests the lease
operates under the current edition of sections 56:421 through 452, the lease language exempting the United States
for activities related to “coastal conservation and restoration” does not seem to incorporate the July 2016
amendment of section 56:423, where “coastal protection, conservation, or restoration,” was replaced with
“integrated coastal protection as defined in R.S. 49:214.2.” See infra note 27 for a full discussion of the section
56:423(A) and (B) statutory language.

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‘Property Rights.’”). Plaintiffs also state, “the statute clearly allows the Plaintiffs to ‘aver
ownership’ when a public offense is committed against their oysters, as in the case of destruction
of their oysters like the one committed by the government.” Pls.’ Resp. at 12 (citing La. Stat.
Ann. § 56:423). 13 Plaintiffs emphasize: “[i]f this privilege is disturbed by a third person, the
Oyster Statute grants to the oyster lessee of public record the right to maintain an action for
damages arising out of the wrongful injury to the lease.” Pls.’ Resp. at 13 (citing Pace v.
Chevron, U.S.A., Inc., 579 So. 2d 494, 496 (La. App. 4 Cir. 1991)).

       Since 1899, “Louisiana [has] passed numerous laws to assist and protect oyster
leaseholders.” Compl. at 18. Indeed, the relationship between the State of Louisiana, oysters,
growers, and third parties is one of the most detailed regulatory regimes in the country. In
Avenal, the Louisiana Supreme Court aptly explains Louisiana’s statutory scheme as follows:

           La. R.S. 41:1225 authorizes the [Department of Wildlife and Fisheries (“DWF”)]
           to grant leases on state-owned water bottoms for oyster cultivation, bedding, and
           harvesting, and matters relating thereto, as provided in Subpart D of Part VII of
           Chapter 1 of Title 56 of the Louisiana Revised States [sic] of 1950. La. R.S.
           41:1225; La. R.S. 56:4. All oyster leases issued on State water bottoms are
           governed exclusively by this statutory scheme. La. R.S. 56:424. . . . The
           Secretary’s right to grant oyster leases is likewise contingent upon a determination
           that the State owns the water bottoms to be leased, and that the lessee agrees as a
           matter of contract that he will operate under Louisiana laws and pursuant to DWF’s
           rules and regulations. La. R.S. 56:425(A), (B). All leases begin on the date the
           lease is signed and continue for a fifteen-year period. La. R.S. 56:428(A). La. R.S.
           56:425(C) recognizes that the Secretary may “make such stipulations in the leases
           made by him as he deems necessary and proper to develop the [oyster] industry”
           provided that the clauses are consistent with the statutory provisions of Subpart D.

Avenal, 886 So. 2d at 1095. In relevant part, section 56:423 provides the following:

           § 423. Property rights; larceny or other public offense concerning; leases
           heritable and transferable; adjudication of claims

           (A) A lessee shall enjoy the exclusive use of the water bottoms leased and of all
           oysters and cultch grown or placed thereon, subject to the restrictions and
           regulations of this Subpart and Part II of Chapter 2 of Title 49 of the Louisiana
           Revised Statutes of 1950.

           (B)(1) A lessee of oyster beds or grounds who has obtained, recorded, and marked
           his lease in compliance with the law shall have the right to maintain an action for
           damages against any person, partnership, corporation, or other entity causing
           wrongful or negligent injury or damage to the beds or grounds under lease to such
           lessee.



13
     See infra note 27 for a full discussion of the section 56:423(A) and (B) statutory language.

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La. Stat. Ann. § 56:423 (2016) (emphasis added). 14

        Section 56:3(A) does not indicate when, if ever, a party other than the State of Louisiana
can own oysters. If the government’s argument regarding the statue’s logical extreme is true—
oysters can never be property—it would shock the common sense of oyster-eaters to know the
oysters they buy are not their property, even when they shuck and gulp them. See Tr. at 134:16–
19 (“[THE GOVERNMENT]: I think an argument could be made that the oysters are still not
the property of the oyster lessees, even after they’ve been harvested. And that’s just as a result
of 56:3.”). Although section 56:3(A) provides the State of Louisiana owns the oysters, section
56:423 grants oyster lessees some property rights in oysters under certain circumstances, at a
minimum, under the title “Property rights” Louisiana Statute section 56:423 provides “[a] lessee
shall enjoy the exclusive use of the water bottoms leased and of all oysters and cultch grown or
placed thereon.” La. Stat. Ann. § 56:423(A) (2016). Oyster lessees must thus have some
property right in the exclusive use of the water bottoms and the “oysters and cultch grown or
placed thereon.” Id. Oyster lessees also “have the right to maintain an action for damages
against any person, partnership, corporation, or other entity causing wrongful or negligent injury
or damage to the beds or grounds under lease[.]” La. Stat. Ann. § 56:423(B). Therefore, under
the Louisiana code, and certain circumstances enumerated, oyster lessees have some property
rights in oysters. La. Stat. Ann. § 56:423 (“Property rights, larceny or other public offenses
concerning; leases heritable and transferable; adjudication of claims.”).

       It could be that the State of Louisiana has superior property rights but property rights are
diverse and lesser rights are still property rights. Kaiser Aetna v. United States, 444 U.S. 164,
180 (1979) (“And even if the Government physically invades only an easement in property, it
must nonetheless pay just compensation.”); see also Fla. Rock Indus., Inc. v. United States, 18
F.3d 1560, 1572 n.32 (Fed. Cir. 1994). 15 The Court next considers whether Louisiana cases
addressing oyster growers’ rights against third parties and the United States limits plaintiffs’
property rights in this case.




14
  See infra note 27 for a full discussion of the section 56:423(A) and (B) statutory language.
15
  In Florida Rock Industries, Judge Plager states property “interests are about as diverse as the human mind can
conceive,” and further:

         Property interests may be real and personal, tangible and intangible, possessory and nonpossessory.
         They can be defined in terms of sequential rights to possession (present interests—life estates and
         various types of fees—and future interests), and in terms of shared interests (such as the various
         kinds of co-ownership). There are specially structured property interests (such as those of a
         mortgagee, lessee, bailee, adverse possessor), and there are interests in special kinds of things (such
         as water, and commercial contracts). And property interests play across the entire range of legal
         ideas: see, e.g., Tompkins v. Superior Court of San Francisco, 59 Cal. 2d 65, 27 Cal. Rptr. 889, 378
         P.2d 113 (1963) (did joint occupancy of an apartment give one occupant the kind of possessory
         property interest that carried with it the power to grant to police legal entry to search without a
         warrant for the other occupant’s marijuana stash).

Fla. Rock Indus., Inc., 18 F.3d at 1572 n.32.

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       C. Prior Louisiana and Federal Circuit Cases Addressing Oyster Growers’ Rights
          Against Third Parties and the United States

        The government argues “numerous other decisions from Louisiana state courts confirm
the plain meaning of Louisiana Statute 56:3(A)—oyster lessees (like fishermen) do not have a
compensable property interest in the oysters (or fish) themselves.” Def.’s Suppl. Br. at 9. The
government provides the following string cite as support:

       See, e.g., Slavich, 994 So. 2d at 93 (holding oyster lessees lack any property right
       to “optimal salinity regime for oyster cultivation”); Inabnet v. Exxon Corp., 642 So.
       2d 1243, 1256 (La. 1994) (holding that oyster lessees have no “real and actual
       interest” in the water bottom itself and therefore could not recover cultch restoration
       costs); State v. Thompson, 204 So. 3d 1019 (La. Ct. App. 2016) (rejecting
       fisherman’s right to recover fish (or the monetary equivalent of fish) seized
       pursuant to arrest because fisherman have no property right in the fish); La. Seafood
       Mgmt. Council v. La. Wildlife & Fisheries Comm’n, 715 So. 2d 387, 392 (La. 1988)
       (rejecting takings claim because fishermen lack a property interest in the fish they
       harvest); Dempster v. Louis Eymard Towing Co., Inc., 503 So. 2d 99, 101 (La. Ct.
       App. 1987) (rejecting plaintiff’s claims for lost value of fish because “plaintiff had
       no proprietary interest in the fish which were at large in the waters”).

Id. at 9–10 (footnote omitted). The government also contends the Federal Circuit’s decision in
Avenal does not support plaintiffs’ assertion of a possessory property right in the yet-to-be-
harvested oysters.

        Plaintiffs argue oyster leases “have the attributes of other forms of real property[] and are
entitled to protection” from damage. Pls.’ Resp. at 2 (quoting Federal Avenal, 100 F.3d at 936).
Plaintiffs observe, “[m]ore recently, in Horne v. USDA, [576 U.S. 350, 358] (2015), the Supreme
Court held . . . the Fifth Amendment applies equally to personal property and real property.”
Pls.’ Resp. at 3. “Accordingly, the government is required to pay just compensation when it
takes real property (such as Plaintiffs’ oyster beds and reefs) as when it takes personal property
(such as Plaintiffs’ oysters, oyster spat, cultch and limestone rock placed on the oyster beds to
cultivate oysters).” Id. Plaintiffs’ central argument is even if the statutory scheme and Louisiana
case law foreclose takings lawsuits against the State of Louisiana, this case is different because
the United States is defendant, not the State of Louisiana. See Tr. at 126:10–22 (“THE
COURT: . . . [In] Slavich, the Louisiana Court of Appeals states the exclusive rights conferred
by oyster leases . . . ‘have never been recognized as anything other than rights granted against
third parties to the leases, not against the State.’ [PLAINTIFFS]: Right. The Federal
Government is a third party. THE COURT: So the Plaintiffs’ position is the Federal
Government is different. [PLAINTIFFS]: Yeah.”).

        In Inabnet, the State of Louisiana granted Exxon a right-of-way “with the right ‘to cut,
dig, dredge, deposit spoil on banks, build, construct and maintain a canal’ on the right-of-way.”
Inabnet, 642 So. 2d at 1245. Louisiana then “granted plaintiff an oyster lease,” and “[p]laintiff
planted approximately 5,000 sacks of seed oysters on about sixteen acres,” expecting a harvest
about two years later. Id. at 1247. Meanwhile, Exxon’s contractor dredged the right-of-way and

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plaintiff sued Exxon alleging its contractor’s “dredging had dug up part of his oyster beds and
deposited spoil on other parts, damaging the oysters and the beds.” Id. The Louisiana Supreme
Court considered whether the oyster lessee could “recover his damage for the loss of his seed
oysters and the loss of reasonably anticipated income, as well as for the cost of restoring the
water bottoms to the condition where they would support oyster beds.” Id. The court affirmed
the judgments of the lower courts “as to the award of damages for loss of seed oysters and for
loss of anticipated income from oyster production.” Id. at 1256. Notably, the Louisiana
Supreme Court explained, “La. Rev. Stat. 56:423 B(1) [sic] recognizes an oyster lessee’s right to
recover his own damages for injury to his oyster beds. The awards for loss of seed oysters and
loss of income from anticipated production were based on this right of recovery.” Id. at 1255. In
holding plaintiffs could not recover damages for restoration of the water bottoms but could
recover damages for the oysters as against third parties, the court distinguished between the
state’s property, the water bottoms, and plaintiffs’ right to recover damages for harm to the
oysters. 16

         In Doucet, the Louisiana Supreme Court affirmed a judgment “for the value of oysters
allegedly killed during the 1932–1933 season in beds leased by the plaintiff from the state as the
result of the company’s pollution of the waters.” Doucet v. Texas, 17 So. 2d 340, 340 (1944).
Operating under a now antiquated statutory regime, the court noted in the pre-1926 act,
“ownership of the oysters [was] specifically declared to be in the lessee and although the word
‘ownership’ is omitted from a similar provision in the 1926 act, the import is the same.” Id. at
341. In Butler, the Louisiana Supreme Court found some defendants liable in a “case involv[ing]
a claim for damage to oysters and water bottoms as a result of the dredging of a canal for use in
drilling an oil well.” Butler v. Baber, 529 So. 2d 374, 375 (La. 1988). According to persuasive
Louisiana Supreme Court precedent, oyster growers can be entitled to compensation for damage
to their oysters by third parties under certain circumstances. Inabnet, 642 So. 2d 1243; Butler,
529 So. 2d at 375; Doucet, 17 So. 2d 340; see also, Melerine v. Tom’s Marine & Salvage, LLC,
315 So. 3d 806, 823 (La. 2021) (“An oyster lessee has a valuable property right entitled to
protection under the law.” (citing Avenal, 886 So. 2d at 1100 n.20)).

       In Avenal, the Louisiana Supreme Court confirms the following: (1) oyster lessees have
valuable property rights in oyster beds; and (2) lessees may recover against “third parties” for
damage to seed oysters and anticipated production. See Avenal, 886 So. 2d at 1100 n.20. 17 The




16
   Regarding the Inabnet plaintiffs’ property rights in the water bottoms, the court notes, however, “[i]n some
situations, as in a long-term lease in which the lessee has made significant improvements, the lessee may have a
greater interest than the owner in restoring damaged property.” Inabnet, 642 So. 2d at 1255 n.15. The Inabnet court
applies a previous version of section 56:423, see infra note 27 for a full discussion of the section 56:423(A) and (B)
statutory language.
17
   The full footnote from Avenal is as follows:


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specific language chosen by the Avenal court implies parties other than the State of Louisiana are
“third parties.” Id. (“In [Butler, Doucet, and Inabnet], the tortfeasor was a third party to the
lease; no court has ever recognized a right under [La. Stat. Ann. § 56:423(B)(1)] against the
State.”). Indeed, a key distinction between Avenal and Melerine, Inabnet, and Butler, is, unlike
the State of Louisiana, the tugboat captain, oil company, and mineral lessees were not parties to
the lease but rather they were third parties. Similarly, the United States is not party to plaintiffs’
lease agreements—it is a third party to the lease. See, e.g., Melerine, 315 So. 3d 806; Avenal,
886 So. 2d 1085; Inabnet., 642 So. 2d 1243; Butler, 529 So. 2d 374.

        In Slavich, the Louisiana First Circuit Court of Appeal considered whether lessees of
oyster beds could maintain a breach of implied contractual warranties action for damages against
the State of Louisiana. Slavich, 994 So. 2d 85. The court stated: “As Avenal clearly held, the
oyster statutes do not guarantee oyster lessees with a vested right to an optimal salinity regime
for oyster cultivation. Further, the rights granted in LSA–R.S. 56:423(B) have never been
recognized as anything other than rights granted against third parties to the leases, such as oil
companies, not against the state.” Slavich, 994 So. 2d at 95 (citing Avenal, 886 So.2d at 1100).
As in Avenal, the Slavich court draws the same distinction between the State of Louisiana and all
other parties as “third parties to the leases,” thus the government’s citation to Slavich does not
overcome this distinction. Id.

        In the Federal Avenal case, the Federal Circuit considered whether lessees of water
bottoms had a property interest protected by the Fifth Amendment and whether the Caernarvon
project resulted in a constitutional taking.18 See Federal Avenal, 100 F.3d 933 (affirming the trial
court’s decision to grant the government’s summary judgment motion). The Federal Circuit
found the lessees had “valuable property rights created by the State and protected by the [United
States] Constitution,” as against the United States, albeit in the oyster leases not the oysters. Id.
at 937–38. “Louisiana law has long recognized that the property rights created by such leases,
authorized by state statute, see La. Rev. Stat. Ann. § 56:423 (West 1995), have the attributes of


         This Court has recognized that an oyster lessee has a valuable property right in his oyster beds, for
         the loss of which he can recover against one whose fault the loss was incurred. Butler v. Baber, 529
         So. 2d 374 (La. 1988); Doucet v. Texas Co., 205 La. 312, 17 So. 2d 340, 341 (1944). Accordingly,
         courts have allowed oyster lessees to recover against third party oil companies under La. C.C. art.
         667 for damage to their oyster beds caused by the oil companies’ activities. Inabnet v. Exxon
         Corp. . . . (holding that Exxon’s use of property injured neighboring oyster lessee’s property and
         constituted fault under Civil Code Article 2315 by analogy to Articles 667–669 such that oyster
         lessee was entitled to damages under La. R.S. 56:423(B)[(1)] including loss of seed oysters and loss
         of income from anticipated production, but not restoration costs). However, the basis for the oyster
         lessee’s recovery in these cases was the explicit statutory right of recovery granted in La. R.S.
         56:423(B)[(1)] which gives the oyster lessee “the right to maintain an action for damages against
         any person, partnership, corporation or other entity causing wrongful or negligent injury or damage
         to the beds or grounds under lease to such lessee.” In all those cases, the tortfeasor was a third party
         to the lease; no court has ever recognized a right under this statute against the State.

Avenal, 886 So. 2d at 1100 n.20.
18
   The Federal Avenal case was decided in 1996, before the Louisiana Supreme Court decided its 2004 Avenal case.
This temporal note is immaterial as the Federal Avenal case considered property rights in oyster leases as against the
United States, whereas the State Avenal case considered property rights as against the State of Louisiana as well as
other relevant distinctions discussed supra Section VII.A.

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other forms of real property, and are entitled to protection from injury by third parties.” 19 Id. at
936. The Federal Circuit stated, “[t]he question, then, is not whether the plaintiffs had a
constitutionally protected property interest, but whether that property interest was taken by the
Government.” Id. There was no taking, however, because “plaintiffs, in the words of Penn
Central, cannot have had reasonable investment-backed expectations that their oyster leases
would give them rights protected from the planned freshwater diversion projects of the state and
federal governments.” Id. at 937. The Federal Circuit explained, “[i]n light of the history of
events in this case, plaintiffs as a matter of law must be assumed to have known that their rights
to use the bottom-lands for oystering were subject to the inevitable changes that the anticipated
government program would bring about.” Id. at 938.

          Despite holding there was no taking in Avenal because of the unique “history of events
in this case,” the Federal Circuit confirmed oyster farmers have “the right to damages when the
acts of another harm the oyster beds, including harm caused by deleterious changes in the waters
in which the beds lie, for example by unlawful pollution.” Id. Notably, the Federal Circuit
stated, “[w]e grant that the decrease in salinity in the water covering the plaintiffs’ leased
grounds has restrained a valuable use of the lease rights.” Federal Avenal, 100 F.3d 937. As the
Federal Circuit only reaffirmed plaintiffs’ property right in the leases, the Federal Avenal case
supports this Court’s holding plaintiffs have a compensable property rights in oysters. 20

        The government contends the property right described in the Federal Avenal case is
merely “a usufructuary, a use right,” Tr. at 110:21–23, and this use right only permits oyster
growers to sue for damages under state tort law pursuant to § 56:423, Tr. at 112:18–25. Without
citation at oral argument, the government argues, “the right to sue for a tort in state law is not the
same as a compensable property right in oysters themselves.” Tr. at 118:17–19. The
government states, “one of the ways [Fifth Amendment claims are] distinguished from tort
claims” is a plaintiff claiming a Fifth Amendment taking must “prove up a compensable property
right.” Tr. at 44:6–10. To support this proposition, the government cites Air Pegasus which
states when considering a takings claim, “the court must determine whether the claimant has
established a property interest for purposes of the Fifth Amendment.” Air Pegasus of D.C., Inc.
v. United States, 424 F.3d 1206, 1212 (Fed. Cir. 2005) (citations omitted). The Federal Circuit
continues, “the Constitution does not itself create or define the scope of ‘property’ interests
protected by the Fifth Amendment. ‘Instead existing rules and understandings and background
principles derived from an independent source, such as state, federal, or common law, define the
dimensions of the requisite property rights for purposes of establishing a cognizable taking.’” Id.
(citations omitted). The government’s assertion regarding Air Pegasus does not establish
plaintiffs lack property rights in oysters, rather it begs the question to which this Court now
turns—what rights plaintiffs have in their “bundle of rights.”


19
   The Louisiana legislature has revised this statute since 1995. See infra note 27 for a full discussion of the section
56:423(A) and (B) statutory language.
20
   The Federal Avenal case was decided before Horne in which the United States Supreme Court states, “[the Fifth
Amendment] protects ‘private property’ without any distinction between types,” clarifying the Fifth Amendment
protects personal property as well as real property. Horne, 576 U.S. at 358, 367 (finding raisins are private property
and “[a]ny physical taking of them for public use must be accompanied by just compensation.”). This temporal note
might explain why, in Avenal, the Federal Circuit only considered plaintiffs’ property rights in the leases and not in
the oysters.

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        In certain circumstances, the Louisiana code grants oyster lessees property rights in
oysters, and persuasive case law establishes oyster lessees can assert these rights against
“third parties.” La. Stat. Ann. § 56:423; Avenal, 886 So. 2d 1085; Inabnet, 642 So. 2d 1243;
Butler, 529 So. 2d at 375; Doucet, 17 So. 2d 340; Federal Avenal, 100 F.3d at 937. The Court
next considers whether a traditional property rights analysis confirms plaintiff oyster growers
have property rights in oysters. See Air Pegasus, 424 F.3d at 1212; Melancon, 703 F.3d at
269.

VIII. Comparison of Traditional Property Rights Cases to Plaintiffs’ Property Rights in
      Oysters

        The government argues “[o]yster leases are use rights . . . [and] Louisiana state law
provides that oyster lessees do not, and cannot, obtain a compensable property right in the
oysters cultivated on state-owned waterbottoms . . . .” Def.’s MTD at 7–8 (citations omitted).
The government states, Section 56:423(A) is only a “right to use, a use of property right.” Tr. at
81:20–21. The government also re-asserts the Avenal language citing section 56:3, that the State
of Louisiana owns the oysters and concludes “[t]hat is the end of the road for Plaintiffs.” Tr. at
87:7.

        The government cites the 1935 Louisiana Supreme Court case, State v. Crappel, for the
proposition “the word ‘occupancy’ means ‘the taking, the holding, the actual seizing, the keeping
as one’s owns, such things as may be acquired by capture, and does not relate to the occupancy
or possession of the ground on which or from which wild things which have no owner may be
captured.’” Def.’s Surreply Resp. at 6 (citing State v. Crappel, 160 So. 309, 312 (La. 1935)). In
asserting plaintiffs lack of property rights in oysters until they are captured, the government
argues oysters are analogous to fish and other “wildlife,” stating as follows:

       The concept that the state retains ownership over oysters and wildlife has been
       confirmed in several other state decisions. See La. Seafood Mgmt. Council v. La.
       Wildlife & Fisheries Comm’n, 715 So. 2d 387, 392 (La. 1998) (“The lack of any
       property interest in the fish in the waters is well-settled, statutorily and judicially.”
       (citations omitted)); State v. Thompson, 204 So. 3d 1019 (La. Ct. App. 2016)
       (rejecting fisherman’s right to recover fish, or the monetary equivalent of the fish,
       seized pursuant to arrest because fisherman had no property right in the seized fish
       pursuant to La. Stat. Ann. § 56:3); Dempster v. Louis Eymard Towing Co., Inc., 503
       So. 2d 99, 101 (La. Ct. App. 1987), writ denied, 505 So. 2d 1136 (La. 1987)
       (rejecting plaintiffs’ claims for lost value of fish resulting from oil spill because
       “plaintiff had no proprietary interest in the fish which were at large in the waters”).

Def.’s MTD at 6. Melancon, the Fifth Circuit case defining the “bundle of rights” associated
with property in Louisiana, the government argues “is irrelevant because Louisiana state law
provides the answer.” Def.’s Reply at 5. The government avers Melancon does not apply to
this case for three reasons: (1) “Melancon did not involve oysters”; (2) “oyster lessee has a right
to the ‘exclusive use’ of ‘the water bottoms leased and of all oysters and cultch grown or placed
thereon,’ but the oysters are the property of the State of Louisiana”; and (3) “[t]he Fifth Circuit’s
decision in Melancon, which says nothing about state law concerning oysters, does not, and

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cannot, overturn the Louisiana Supreme Court’s interpretation of state law.” Id. at 4–5 (citations
omitted).

Plaintiffs respond as follows:

       The idea that . . . the oyster growers, don’t have possession of the oysters is really
       not backed up by the facts here. If it were shrimp, yes, because shrimp are moving.
       The fish are moving. And we agree that until you catch a fish, catch a shrimp, you
       don’t own it. Nobody owns it until you get possession over the wild animal . . . .
       But with oysters . . . [plaintiffs] are allowed to go to the breeding grounds, pick the
       oysters, bring them to the cultch, put them in the cultch, in the base that they have
       prepared. This is within a perimeter that if you look at the statute, they are required
       to mark their lease so that other people cannot go in there to grab any of these
       oysters on their fear of being prosecuted for that. So they take the little baby
       oysters. They put them at the bottom [on their] rocks, and those little baby oysters
       grow and multiply, and the entire time, soon after they are placed on the rocks, they
       become attached to the rocks.

Tr. at 51:19–52:17. Plaintiffs compare oysters to crops by stating “[oysters] become attached.
The oysters are not moving around.” Tr. at 52:17–18; see also Tr. at 137:4–10 (“Fact of the
matter is that because [oyster farming] is agriculture, the oysters always belong to the lessee,
even before those oysters have fully developed to the state where they can actually be removed
from the beds and transported to shore.”). As oysters remain fixed in place within the boundaries
of plaintiffs’ exclusive leases, plaintiffs aver “[the oysters] are in the possession of the
leaseholders the entire time.” Tr. at 52:23–24; see also Tr. at 137:11–24 (THE COURT: So it’s
Plaintiffs’ position that once the baby oysters are picked up from the farm and brought in the
boat to the leased water bottoms, they are the property of the lessee. [PLAINTIFFS]: And also
because they attach to the water bottom, Your Honor. They attach to the beds.”).

        Plaintiffs argue, “[t]he government improperly construes the word ‘property’ as being
synonymous with ‘ownership.’” Pls.’ Resp. at 7. Plaintiffs argue “the [Supreme] Court has
consistently re-affirmed the rule that the Takings Clause applies to all forms of property rights
and not only to ownership.” Id. at 4. Plaintiffs contend, “[their] oysters must be characterized
a[s] ‘property’ under Louisiana law” by citing Melancon, and stating the following:

       Louisiana law gives the Plaintiffs the right to “enjoy the exclusive use of . . . all
       oysters . . . grown or placed” on the leased water bottoms (usus). The law also
       allows Plaintiffs to sell their oysters (abusus). And the law gives them the right to
       receive payment for their oysters (even from the State if it elects to cancel a lease)
       and to enjoy their earnings and profits (fructus).

Id. at 14. Plaintiffs continue as follows:

       [The] three [Melanon] elements are given by [section] 423 to the Plaintiffs related
       to the oysters, because the exclusive right to use all the oysters, subject to the
       restrictions, allow the Plaintiffs to, one, possess the oysters because they are

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           allowed to mark their plot of land of water bottom that they lease, and nobody else
           can go in there to remove those oysters. Number two, it allows them the right to
           transfer, because those oysters are removed with the authority of the State of
           Louisiana, and they are sold to the public, and [three] they are entitled to the fruits,
           the profits from that activity. So whether we call it a right of use, a lease, it is
           ownership under the law of Louisiana.

Tr. at 79:20–80:8. Plaintiffs note, “La. Rev. Stat. [§] 56:423 provides the lessees ‘the exclusive
use of the water bottoms leased and of all oysters and cultch grown or placed thereon’ and the
right to sue for damages to the oyster beds or the grounds under the leases.” 21 Pls.’ Resp. at 12.
In addition, plaintiffs argue “the statute clearly allows the Plaintiffs to ‘aver ownership’ when a
public offense is committed against their oysters, as in the case of destruction of their oysters like
the one committed by the government.” Id. Plaintiffs argue “exclusive use in and of itself is a
property right . . . protected by the Fifth Amendment.” Tr. at 55:2–4.

        “The lack of any property interest in the fish in the waters is well-settled, statutorily and
judicially.” Louisiana Seafood Management Council, 715 So. 2d at 392 (first citing La. Civ.
Code arts. 450, 452; and then citing La. Rev. Stat. § 56:3). The Louisiana Supreme Court in
Louisiana Seafood explained, “fish which are at large in state waters are the property of the
state.” Id. (quoting LaBauve v. Louisiana Wildlife & Fisheries Comm’n, 444 F. Supp. 1370
(E.D. La. 1978)); see also Crappel, 160 So. at 311 (“Rats are wild animals, which enjoy their
natural liberty and go where they please. While at large they belong to nobody.”). The question
then is whether oysters are similar enough to fish or rats for this principle to control. By
contrast, “[g]rowing crops are property under Louisiana law.” United States v. 131.68 Acres of
Land, More or Less, Situated in St. James Par., State of La., 695 F.2d 872, 875 (5th Cir. 1983)
(awarding net profits and costs already incurred for subsequent years’ crops to landowners and
lessees for crops taken by the United States Government).

        Oysters are not mobile like foxes, rats, and fish. Oysters lack legs, feet, fins, and flippers
with their “soft inner [invertebrate] bod[ies]” entirely encased in an outer shell composed
primarily of calcium carbonate. Compl. at 10. Oysters are not “at large”—they are generally
immovably fixed or planted on the cultch until they reach maturity. Tr. at 12:8–11. The
distinction that oysters are fixed in place is crucial because oyster growers lease a specific plot
and are required to mark their plot, so, unlike commercial fishers, oyster growers may discern
what oysters are within their exclusive lease. Tr. at 52:4–11. As shown by plaintiffs’
description, for another person to unlawfully harvest a lessee’s oysters, that person would simply
have to enter plaintiffs’ leased plot and harvest oysters there. Tr. at 52:9–11; see also La. Stat.
Ann. §§ 56:423(B)–(C). 22 Plaintiffs’ description also highlights another crucial distinction—
oyster growers generally acquire seed oysters and place those seed oysters on the water bottoms
for growth. Compl. at 19.

       The process and terminology of oyster farming is exactly as the name suggests,
“farming.” First, oyster lessees are called “harvesters,” “farmers,” or “growers.” Tr. at 12:22–
13:12. Second, like farmers tending the soil, oyster lessees invest significant resources to

21
     See infra note 27 for a full discussion of the section 56:423(A) and (B) statutory language.
22
     See infra note 27 for a full discussion of the section 56:423(A) and (B) statutory language.

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cultivate the water bottoms by setting the cultch. Tr. at 13:19–20; see also Avenal, 886 So. 2d at
1110 (Weimer, J., concurring) (footnote omitted) (“Oyster farming is fraught with all the
difficulties and risks farmers on land face—such as variances in weather conditions and pests—
as well as those peculiar to aquaculture.”). Third, like crop farmers, oyster growers sow the
“seed” oysters, “cultivate” the oysters, and then a few years later the oyster growers “harvest”
these oysters. Meanwhile, the oysters, like crops rooted in the soil, are fixed to the cultch within
the oyster growers’ exclusive leases.

        In an interesting note in Horne, the Supreme Court distinguished raisins from a Maryland
oyster case stating, “oysters, unlike raisins, were ‘ferae naturae’ that belonged to the State under
state law, and ‘[n]o individual ha[d] any property rights in [oysters] other than such as the state
may permit him to acquire.’” Horne, 576 U.S. at 366–67 (quoting Leonard v. Earle, 141 A. 714,
716 (Md. App. Ct. 1928)). In Leonard, oyster packers sought to compel the Conservation
Commissioner of Maryland to issue a license to carry on the business of packing oysters.
Leonard, 141 A. 714. Leonard is distinguishable from this case as the Leonard court considered
the State of Maryland’s power to exact oyster shells—wild caught, not grown—as a condition of
awarding a license to pack oysters, whereas this case involves the United States’ decision to
release trillions of gallons of freshwater at the expense of oyster growers. Leonard, 141 A. at
715. Importantly, Leonard involved the State of Maryland exacting property from oyster
packers, not the United States taking property from oyster growers. Id. In Horne, the Supreme
Court emphasized the distinction between oyster packers and oyster growers by describing
“[r]aisins . . . are private property—the fruit of the growers’ labor.” Horne, 576 U.S. at 367
(citing Leonard, 141 A. at 716).

         The government in this case admits, the oyster growers devoted significant resources to
cultivate the water bottoms, lay cultch, seed, and raise their oysters. In that regard, oysters, like
raisins in Horne, are “fruit of the growers’ labor.” Id. at 367; see also Avenal, 886 So. 2d at
1110 (Weimer, J., concurring) (footnote omitted) (“Oyster farming has historically been arduous,
backbreaking work requiring a special dedication. . . . Louisiana has historically leased water
bottoms for a nominal value because this property had little intrinsic value. Through hard work
and dedication, many oyster fishermen built reefs with materials referred to as cultch over the
muddy water bottoms, turning unproductive lands into an area producing bountiful crops of
oysters.”). Neither Horne nor case law applying the rule of capture to fish, foreclose oyster
growers property rights in this case, so the Court now turns to an analysis of plaintiffs’ “bundle
of rights” in oysters.

        In Murr, Chief Justice Roberts states, “step one” of a Takings Clause analysis is
“identifying the property interest at stake” and “[t]he word ‘property’ in the Takings Clause
means ‘the group of rights inhering in [a] citizen’s relation to [a] . . . thing, as the right to
possess, use and dispose of it.’” Murr v. Wisconsin, 137 S. Ct. 1933, 1951 (2017) (Roberts, J.,
dissenting) (quoting United States v. Gen. Motors Corp., 323 U.S. 373, 378 (1945)). To decide
whether plaintiffs have compensable property rights, the Court must understand all plaintiffs’
rights in the oysters and determine whether the “group of rights” is sufficient to create a
compensable property interest. Gen. Motors, 323 U.S. at 378. “[W]hile state law generally
defines what constitutes a property interest, ‘unwritten common law’ or ‘policies and practices’
also can rise to the level of creating ‘property interests.’” Melancon, 703 F.3d at 269 (citing

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Perry v. Sindermann, 408 U.S. 593, 602–03 (1972)). “In other words, the Fifth Amendment
protects expectations arising not just from legislation or judicial precedent, but also those
‘spring[ing] from custom and practice.’” Id. (citing Skip Kirchdorfer, Inc. v. United States, 6
F.3d 1573, 1581 (Fed. Cir. 1993)). In Melancon, the Fifth Circuit explains the essential features
of the “bundle of rights” commonly characterized as “property” under Louisiana law are:

       (1) usus—the right to use or possess, i.e., hold, occupy, and utilize the property; (2)
       abusus—the right to abuse or alienate, i.e., transfer, lease, and encumber the
       property, and (3) fructus—the right to the fruits, i.e., to receive and enjoy the
       earnings, profits, rents, and revenues produced by or derived from the property.

Id. (citing Rodrigue, 218 F.3d at 436–37).

        “The power to exclude has traditionally been considered one of the most treasured
strands in an owner’s bundle of property rights.” Loretto v. Teleprompter Manhattan CATV
Corp., 458 U.S. 419, 435 (1982). Under Louisiana’s oyster statutes, “[a] lessee shall enjoy the
exclusive use of . . . all oysters” grown on their leased water bottoms. La. Stat. Ann.
§ 56:423(A) (2016). The government admits oyster growers “have the right to exclude other
people from the [leased] area until the oysters come to eating size . . . . [I]f [the oyster growers]
have collected those seed oysters.” Tr. at 48:21–25. The government continues, “exclusive use
is a use of property right, that [lessees] and no one else can come onto that particular designated
area denoted in their lease and attempt to harvest and collect oysters. . . . That is [the lessees’]
exclusively. That’s what the lease gives them.” Tr. at 60:9–14.

        The government concedes plaintiffs have the exclusive right to destroy oysters, including
the right to do anything the oyster growers “want to do with respect to those oysters.” Tr. at
141:18–142:2 (“THE COURT: So the Government assumes under 423(a) that the lessee should
enjoy the right to destroy the oysters if they so choose. [THE GOVERNMENT]: It seems like
there certainly could be an argument to that. They have . . . the exclusive use of the water
bottoms lease and of all the oysters and cultch grown or placed thereon, so I think that that use
right would include doing what it wants to do with respect to those oysters.”); see also Tr. at
111:13–14 (“[THE GOVERNMENT]: [plaintiffs] have a use right in the area that’s defined by
their lease.”). The government admits oyster lessees “have the exclusive ability to attempt to
harvest [oysters] within . . . the geographic confines of their lease.” Tr. at 37:22–24; see also Tr.
at 58:9–11 (“[THE GOVERNMENT]: . . . [Section 56:423 provides] a[n] oyster lessee has a
right to use a designated area to cultivate and try to harvest oysters.”). Plaintiffs accordingly
have rights “to use or possess, i.e., hold, occupy, and utilize” the oysters. Melancon, 703 F.3d at
269 (citations omitted).

        The government also states, “[plaintiffs] have a right to sue for damages in state law for
tort.” Tr. at 111:15–16. That plaintiffs may sue third parties who harm their oyster beds and
oysters also affirms the right to destroy oysters is exclusively plaintiffs’. See La. Stat. Ann.
§ 56:423(B). Further, the government states, “[section 423(C)] allows for recovery under
larceny.” Tr. at 115:19–20; Tr. at 58:19–22 (“[THE GOVERNMENT]: I could not take my boat
out and try to collect oysters that might be located within the boundary of [Mr. Campo’s] lease,
because he has that exclusive right to do that.”). As the government notes section 56:423(C)

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does not afford lessees a right to prevent someone from traversing over a marked lease area, the
statute does afford lessees a right to sue for wrongful takings of oysters. La. Stat. Ann.
§ 56:423(C). These statutes affirm plaintiffs’ rights “to use or possess, i.e., hold, occupy, and
utilize” the oysters and plaintiffs’ may be entitled to damages if third parties injure, damage, or
infringe these rights. Melancon, 703 F.3d at 269 (citations omitted).

        The sale of harvested oysters has long been one of the “exclusive uses” referenced in
§ 56:423. See Avenal, 886 So.2d at 1093 n.9 (discussing “income earned from the sale of oysters
on their leases”); Captain Kevin Corp. v. Bay Drilling Corp., 380 So. 2d 639, 643 (La. App. 1
Cir. 1979) (“[D]amages [were] properly based on the sale price [plaintiff] was receiving per sack
of oysters sold.”); Morano v. City of New Orleans, 2 La. 217, 219 (1831) (“The Council thought
it proper to confine the sale of oysters in the city to these stands.”). The government also admits
plaintiffs have the right to sell the oysters. Tr. at 132:17–24 (“THE COURT: . . . Mr. Campo,
transacts with the local restaurant, what is it that [he is] selling? . . . [THE GOVERNMENT]:
[H]e would presumably be paid for the fruits of his effort.”). Plaintiffs clearly have rights to
“abuse or alienate” oysters, and plaintiffs have rights to “receive and enjoy the earnings, profits,
rents, and revenues produced by or derived from” the oysters. Melancon, 703 F.3d at 269
(citations omitted).

         The government admits plaintiffs have several rights including rights to exclude, destroy,
use, possess, sue third parties for damages, recover under larceny, alienate, and enjoy the fruits
of selling the oysters. The Court therefore finds plaintiffs have all three essential features of the
“bundle of rights” commonly characterized as “property” under Louisiana law. Melancon, 703
F.3d at 269. Accordingly, a traditional property rights analysis confirms plaintiffs have
compensable property rights in oysters as against third parties such as the United States under
certain circumstances. 23 Horne, 576 U.S. at 367; Loretto, 458 U.S. at 435; Gen. Motors, 323
U.S. at 378; Melancon, 703 F.3d at 269.

           A. Analysis of Fifth Amendment Lockean Foundation to Property Rights in
              Oysters

        The government admits laying cultch, seeding, and harvesting oysters “takes a lot of
labor effort,” “it’s pretty difficult work,” Tr. at 15:13–16, and “[i]f you have to put the cultch
down, that can be quite expensive,” Tr. at 13:19–20. See also Tr. at 62:18–21 (“[Oyster farmers]
have to put in blood, sweat and toil in order to sometimes turn muddy water bottoms into an area
that could be used for oyster cultivation.”); Avenal v. State, 886 So. 2d 1085, 1110 (La. 2004)
(Weimer, J., concurring) (footnote omitted) (“Oyster farming has historically been arduous,
backbreaking work requiring a special dedication.”). The government also states, when an oyster
lessee sells oysters, “presumably [he] would be paid for the fruits of his effort.” Tr. at 132:17–
24. In other words, plaintiffs’ labor including “blood, sweat, and toil” to prepare the cultch, lay
seed oysters, cultivate the oysters, and harvest the oysters create value and plaintiffs realize this
value by selling the oysters in the marketplace. Tr. at 62:18–21. Despite these admissions, the
government’s argument concludes that when plaintiffs sell oysters, they do not sell their property
rights in oysters but rather merely receive payment for “the fruits of [their] effort[s].” Tr. at
132:24; Tr. at 132:25 – 133:2 (“[THE GOVERNMENT]: . . . [The oyster farmer’s] not being

23
     See infra note 27 for a full discussion of the section 56:423(A) and (B) statutory language.

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paid because he’s selling something he owns. [The oyster farmer] is being paid for the fruits of
his effort.”).

         In his Second Treatise of Government, John Locke explains every individual has a
property right “in his own person” and in anything he “remove[s] from the common state [of]
Nature” and “mixe[s] his labour with.” See Carpenter v. United States, 138 S. Ct. 2206, 2239
(2018) (Thomas, J., dissenting) (citing Second Treatise of Government § 27 (1690)); see also
Nollan v. California Coastal Comm’n, 483 U.S. 825, 860 n.10 (1987) (Brennan, J., dissenting)
(“By any traditional labor theory of value justification for property rights, for instance, see, e.g.,
J. Locke, The Second Treatise of Civil Government 15–26 (E. Gough, ed. 1947), Monsanto [in
Ruckelshaus v. Monsanto] would have a superior claim, for the chemical formulae which
constitute its property only came into being by virtue of Monsanto’s efforts.”). In Carpenter,
Justice Thomas discusses “Lockean labor theory,” which is “[t]he philosopher John Locke’s
justification of private property, based on the natural right of one’s ownership of one’s own
labor, and the right to nature’s common property to the extent that one’s labor can make use of
it.” Lockean Labor Theory, Black’s Law Dictionary (11th ed. 2019). Locke states 1 percent of
the value of “every thing” “is purely owing to nature” whereas 99 percent of the value is “wholly
to be put on the account of labour.” Second Treatise of Government § 40.

        After ascribing 99 percent of the value of property to labor, Locke explains property is
“very unsecure” in the state of nature, Second Treatise of Government § 123, so individuals form
governments to “secure enjoyment of their properties,” id. at § 95. “Once a government is
formed, however, it cannot be given ‘a power to destroy that which every one designs to secure’;
it cannot legitimately ‘endeavour to take away, and destroy the property of the people,’ or
exercise ‘an absolute power over [their] lives, liberties, and estates.’” Carpenter, 138 S. Ct. at
2239 (citing Second Treatise of Government § 222). In a 1792 essay on property, James
Madison, the drafter of the Fifth Amendment, expressed views consistent with Locke’s:

       [A] Government is instituted to protect property of every sort; as well that which
       lies in the various rights of individuals, as that which the term particularly
       expresses. This being the end of government, that alone is a just government,
       which impartially secures to every man, whatever is his own.

Jeffrey M. Gaba, John Locke and the Meaning of the Takings Clause, 72 Mo. L. Rev. 526, 527
n.4 (2007) (citation omitted); see also Fla. Rock Indus., Inc. v. United States, 45 Fed. Cl. 21, 24
n.2 (1999) (citing The Federalist, No. 54, at 339 (J. Madison) (C. Rossiter ed. 1961))
(“Government is instituted no less for protection of the property than of the persons of
individuals.”). Indeed, Madison “was deeply influenced by Locke.” Gaba, supra, at 526–27; see
also Gaba, supra, at 527 n.4 (“Madison’s writings reflected his deep indebtedness to Locke.”);
Richard A. Epstein, Takings: Private Property and the Power of Eminent Domain 16 (1985)
(“The Lockean System was dominant at the time when the Constitution was adopted.”); Gaba,
supra, at 579 (“If not the sole voice that is echoed in the American revolution and the
Constitutional Convention, [Locke] clearly influenced the founders, particularly James Madison,
and he thus represents an intellectual force that is a legitimate part of the current debate over the
relationship between government power and individual property rights.”).



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        Madison “realized the significance of national ratification of a compensation
requirement[] and included it among the amendments he proposed to Congress.” William
Michael Treanor, 94 Yale L.J. 694, 709 (1985). “By giving constitutional status to the common
law requirement of compensation Madison rejected outright confiscation as an acceptable policy
for the federal government.” James W. Ely, Jr., The Guardian of Every Other Right 55 (2d ed.
1998). The states ratified Madison’s understanding of property rights and a compensation
requirement in the Fifth Amendment which reads “nor shall private property be taken for public
use, without just compensation.” U.S. Const. amend. V. In his 1792 essay on property, James
Madison suggests a broad reading of the Takings Clause stating, just as property cannot be
“directly” taken without compensation, neither can the government take property “indirectly” by
diminishing the value of property without payment of just compensation. See James Madison,
Property (1792). “The rationale behind the takings clause is that the financial burden of public
policy should not be unfairly placed on individual property owners but should be shared by the
public as a whole.” Ely, supra, at 55. Justice Black similarly explains the Takings Clause “was
designed to bar Government from forcing some people alone to bear public burdens which, in all
fairness and justice, should be borne by the public as a whole.” Armstrong v. United States, 364
U.S. 40, 49 (1960). The requirement of just compensation “also secures property ownership by
imposing a practical cost limitation on the amount of private property that the federal
government can seize for public purpose.” Ely, supra, at 55.

        Nineteenth century court decisions also confirm the government may not take private
property without just compensation. See e.g., Pumpelly v. Green Bay & Mississippi Canal Co.,
80 U.S. 166, 177 (1871) (describing the government’s requirement to pay just compensation
upon flooding plaintiff’s property as “so essentially a part of American constitutional law.”);
Gardner v. Village of Newburgh, 2 Johns. Ch. 162, 167–68 (N.Y. Ch. 1816) (“[I]t is made a part
of the constitution of the United States, ‘that private property shall not be taken for public use,
without just compensation.’ I feel myself, therefore, not only authorized, but bound to conclude,
that a provision for compensation is an indispensable attendant on the due and constitutional
exercise of the power of depriving an individual of his property.”).

        The government’s suggestion plaintiffs are compensated for “the fruits of [their oyster-
growing] effort[s]” in the marketplace, yet plaintiffs lack property rights in the oysters, runs
counter to the Lockean foundation of the Fifth Amendment Takings Clause. Plaintiffs fix the
water bottoms with cultch, acquire seed oysters, place these seed oysters within their leases,
cultivate the oysters, and then harvest the oysters. In the government’s own words, plaintiffs’
“blood, sweat and toil” are mixed with the oysters and this mixture is why plaintiffs are paid
when they sell oysters. See Tr. at 132:17–24. These “backbreaking” efforts when “mixed” with
the water bottoms, cultch, and seed oysters confirms plaintiffs have quintessential Lockean
property rights in the oysters—this mixture is what the Fifth Amendment assumed to be
compensable property if taken for public purpose.




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IX. Whether 28 U.S.C. § 1497 Gives Plaintiffs an Independent Claim

        The government states, “Plaintiffs’ complaint does not mention Section 1497” and urges
the Court not to consider whether plaintiffs have a viable claim under this provision. Def.’s
Surreply Resp. at 8. The government alternatively argues the Court should reject plaintiffs’
section 1497 argument for the following three reasons: (1) plaintiffs have not alleged damage
arising from “dredging operations,” id. at 8–9; (2) plaintiffs have not alleged damage arising
from “use of machinery and equipment in making river and harbor improvements authorized by
Act of Congress,” id. at 9–11; and (3) section 1497 does not apply retroactively to the Bonnet
Carré Spillway, id. at 11–13. The government further asserts the statutory language, “making
river and harbor improvements,” 28 U.S.C. § 1497, “is contemplating an actual improvement, an
actual structure that’s going to be built and that’s authorized by Congress,” Tr. at 157:13–16.

        Plaintiffs contend, their complaint meets the requirements for jurisdiction under section
1497 because “they allege that the damage to their oysters arose from use of other machinery
and equipment in making river . . . improvements authorized by Act of Congress.” Pls.’ Surreply
Suppl. at 13. Plaintiffs assert the spillway “control structure is a mechanically-controlled
concrete weir” and “[w]hen opened, the control structure allows overflow volume to flow into
Lake Pontchartrain.” Id. at 14. Plaintiffs also aver they are not seeking a retroactive application
of section 1497 as the operation of the spillway was not when it was constructed, but rather when
it was opened in 2019. See Tr. at 155:4–9 (“[PLAINTIFFS]: . . . [W]e are applying [section
1497] to the actual process that took place two years ago, in 2019 . . . .”); see also Tr. at 155:11–
15 (“[PLAINTIFFS]: The operation that took place in 2019 twice during the year . . . for the
purpose of lowering the river, which is an improvement on the river . . . .”).

       In relevant part, section 1497 provides:

       The United States Court of Federal Claims shall have jurisdiction to render
       judgment upon any claim for damages to oyster growers on private or leased lands
       or bottoms arising from dredging operations or use of other machinery and
       equipment in making river and harbor improvements authorized by Act of
       Congress.

28 U.S.C. § 1497. “When interpreting a statute, we look first to the language of the statute.”
Fisherman’s Harvest, Inc. v. PBS & J, 490 F.3d 1371, 1376–78 (Fed. Cir. 2007) (citation
omitted) (interpreting 28 U.S.C. § 1497 and holding “section 1497 does not create exclusive
jurisdiction in the Court of Federal Claims over the oyster growers’ claims against private
contractors for damage to oyster beds as a result of dredging operations.”). “The first step is to
determine whether the language at issue has a plain and unambiguous meaning with regard to the
particular dispute in the case.” Mulder v. McDonald, 805 F.3d 1342, 1345 (Fed. Cir. 2015)
(quoting Barnhart v. Sigmon Coal Co., Inc., 534 U.S. 438, 450 (2002)). “The inquiry ‘ceases if
the statutory language is unambiguous and the statutory scheme is coherent and consistent.’” Id.
(quoting Barnhart, 534 U.S. at 450)).

        This court’s predecessor court previously found the government is not liable under
section 1497 for operation of the Bonnet Carré Spillway. Lapeyrouse v. United States, 215 Ct.

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Cl. 988, 989 (1977) (sitting in appellate review) (unpublished opinion). Plaintiffs in Lapeyrouse
brought a section 1497 claim for damage to their oyster beds over a thirty-month period caused
by the United States’ government’s dredging activity. Id. at 988. The Lapeyrouse court held
plaintiffs could only recover under section 1497 for damages to their oyster beds for an 18-
month period, the portion of the damages caused directly by dredging operations. 24 Id. at 989.
Plaintiffs were not entitled to damages for the remaining 12-month period because “a
superceding [sic] event, namely the opening of the Bonnet Carré Spillway in April 1973
extinguishes the Government's liability for any damages thereafter occurring.” Id. The court
noted the “injurious effects of the Spillway opening upon plaintiffs’ oyster lease are not factually
connected with the damage caused by the dredging operation” and “are, in and of themselves,
not compensable by statute.” Id. Lapeyrouse is merely persuasive as an unpublished opinion,
however, the facts are directly applicable to this case. Id.; see W. Coast Gen. Corp. v. Dalton, 39
F.3d 312, 315 (Fed. Cir. 1994) (“Court of Federal Claims decisions, while persuasive, do not set
binding precedent for separate and distinct cases in that court.”); see also Fed. Cir. R. 32.1(d)
(“The court . . . may look to a[n] . . . unpublished disposition for guidance or persuasive
reasoning but will not give one of its own nonprecedential dispositions the effect of binding
precedent.”).

        In this case, as in the non-recoverable 12-month period in Lapeyrouse, “Plaintiffs do not
allege . . . the United States damaged oyster leases by dredging or some other activity related to
dredging operations; they instead allege . . . the United States indirectly damaged oyster leases
by opening a flood control spillway in 2019.” Def.’s Surreply Resp. at 9. As in Lapeyrouse,
therefore “the injurious effects of the Spillway opening upon plaintiffs’ oyster lease are not
factually connected with damage caused by [a] dredging operation . . . .” Lapeyrouse, 215 Ct.
Cl. at 989. In Lapeyrouse, the court implied the plain meaning of section 1497, “claim for
damages to oyster growers on private or leased lands or bottoms arising from dredging
operations or use of other machinery and equipment in making river and harbor improvements
authorized by Act of Congress,” does not include claims for damages arising from operation of
the Bonnet Carré Spillway. 28 U.S.C. § 1497; Lapeyrouse, 215 Ct. Cl. at 989.

        The language of the statute is as follows: “claim for damages to oyster growers . . .
arising from dredging operations or use of other machinery and equipment in making river and
harbor improvements authorized by Act of Congress.” 28 U.S.C. § 1497. In this case, while the
spillway was opened by use of machinery, plaintiffs admit the public purpose of the spillway is
preventing New Orleans from flooding, not “making river and harbor improvements,” § 1497.
See Compl. at 20 (“The Bonnet Carré Spillway is a flood control structure.”); Compl. at 2
(stating, the spillway “avert[s] the flooding of the City of New Orleans.”). Averting flooding of
areas surrounding the Mississippi river is not “making a river or harbor improvement,” § 1497,
rather the MRC president decides to open the spillway to prevent the river from harming others.
Id. This finding affirms the Lapeyrouse court’s holding regarding the plain meaning of section
1497.

       This action is founded upon the Fifth Amendment to the United States Constitution, so
this Court has jurisdiction over this action pursuant to the Tucker Act. See 28 U.S.C.
§ 1491(a)(1) (2018) (“The United States Court of Federal Claims shall have jurisdiction to render

24
     This finding is also reinforced by the dearth of non-dredging section 1497 cases.

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judgment upon any claim against the United States founded upon . . . the Constitution.”). The
Court therefore does not need to reach the issue of jurisdiction under section 1497; however, the
Court requested supplemental briefing on section 1497 so it could fully consider all issues at one
time. See Order, ECF No. 20. As the parties fully briefed section 1497’s applicability to
plaintiffs’ claim, the Court concludes plaintiffs do not have an independent cause of action under
the plain meaning of section 1497. 25 See Lapeyrouse, 215 Ct. Cl. at 989 (finding the government
is not liable under section 1497 for operation of the Bonnet Carré Spillway).

X. Whether Plaintiffs’ Claim Should be Dismissed Pursuant to 12(b)(6) for Failure to State
   a Claim

         The government argues, “[b]ecause Plaintiffs have no compensable property right to the
oysters themselves, any claim related to a taking of the oysters must be dismissed for failure to
state a claim upon which relief can be granted.” Def.’s MTD at 8.

        The Takings Clause of the Fifth Amendment provides “private property” may not “be
taken for public use, without just compensation.” U.S. Const. amend. V. To prevail on a takings
claim a plaintiff must demonstrate a protectable property interest. Ruckelshaus, 467 U.S. at
1000; U.S. Const. amend. V.

         In 2019 the Corps opened the Bonnet Carré Spillway on 27 February and again on 10
May in anticipation of flood water conditions in New Orleans. Compl. at 24–25; see also id. at
22 (noting the Spillway was constructed to protect New Orleans’ and other downstream
communities’ levees from “unacceptable stress from high water.”). Part of plaintiffs’ prayer for
relief requests a “[f]inding that plaintiffs’ . . . properties have been taken for a public purpose.”
Id. at 34. For purposes of this motion, the government does not contest the openings occurred
for a public purpose, affirmatively asserting “the United States operated the Bonnet Carré
Spillway . . . in order to minimize flood damages along the lower river reaches and the City of
New Orleans.” Def.’s MTD at 1. During oral argument, the government agreed, for the purpose
of the motion to dismiss, the opening of the Bonnet Carré Spillway was for a public purpose. Tr.
at 30:18–21 (“THE COURT: “Well, so the operation of the Bonnet Carré Spillway, the
Government agrees that it is a measure of flood prevention for a public purpose.
[GOVERNMENT]: Yes.”). Additionally, the government concedes, “[f]or purposes of this
motion, the United States assumes Plaintiffs own oyster leases on state-owned waterbottoms.”
Def.’s MTD at 7.

       The government concedes the above elements of plaintiffs’ takings claims for the
purposes of this motion and instead bases its RCFC 12(b)(6) motion to dismiss solely on the
argument plaintiffs “have no compensable property right to the oysters themselves.” Id. at 8; Tr.

25
  The Court concludes plaintiffs do not have an independent cause of action under section 1497, thus the Court does
not need to reach the issue of whether finding jurisdiction would violate the party presentation rule. See United
States v. Sineneng-Smith, 140 S. Ct. 1575 (2020) (reversing the Ninth Circuit for failing to follow the party
presentation rule by finding the statute in question was overbroad, even though the defendant did not make such an
argument); Greenlaw v. United States, 554 U.S. 237 (2008) (reversing the Eighth Circuit for violating the party
presentation rule by sua sponte imposing a prison sentence not advocated by the government); Stearn v. Dep’t of
Navy, 280 F.3d 1376, 1381 (Fed. Cir. 2002) (reversing the trial court for failing to follow the party presentation
rule).

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at 33:17–20 (“THE COURT: . . . The only issue [is] whether Plaintiffs have a compensable
property right in the oysters. [THE GOVERNMENT]: Yes.”). This is the government’s only
argument, and as the Court found supra Sections VII & VIII, plaintiffs have compensable
property rights in the oysters as against third parties, such as the United States, in certain
circumstances. Therefore, the Court must deny the government’s motion to dismiss in part
pursuant to RCFC 12(b)(6).

XI. Conclusion

         The government concedes when plaintiffs sell oysters they are “paid for the fruits of
[their] effort,” and plaintiffs demonstrate rights to exclude, destroy, use, possess, sue third parties
for damages, recover for larceny, alienate, and enjoy the fruits of selling oysters. Under
Louisiana precedent, federal common law, and Lockean labor theory, plaintiffs have shown
compensable property rights in oysters as against the United States. For the foregoing reasons,
the Court DENIES the government’s motion to dismiss in part pursuant to RCFC 12(b)(6). 26
The parties shall meet and confer, and SHALL FILE a joint status report detailing the next steps
in the case and further proceedings on or before 20 January 2022. 27


26
   The Court also GRANTS plaintiffs’ motion to file a surreply in opposition to the government’s motion to dismiss
in part. See supra Section V.
27
   As mentioned in a handful of notes supra, the parties do not fully cite or discuss section 56:423 in their briefing.
A proper Bluebook citation to a state statute includes “the year of the cited code edition.” The Bluebook: A
Uniform System of Citation R. 12.1.2, at 19 (Columbia L. Rev. Ass’n et al. eds., 21st ed. 2020). Neither party,
however, includes a year for their section 56:423 citations and plaintiffs presented the Court with a 1981 copy of
section 56:423 at argument. The Louisiana legislature has amended section 56:423 several times since 1981, but the
government did not object to plaintiffs’ 1981 edition of the statute. The Court is thus unable to determine whether
the parties are referring to the correct version of section 56:423 and observes in full review of the most recent
version of the statute, there may be non-property right reasons to address a motion to dismiss under Louisiana
Statute Annotated Section 56:423 (2016).

The parties cite sections 56:423(A), (B), (B)(1), and (C) in their briefs but other sections of this statute are notably
absent. A few subsections which may be relevant to this case were amended as recently as 2016. For example,
where section 56:423(A)(1) currently reads “integrated coastal protection as defined in R.S. 49:214.2,” La. Stat.
Ann. § 56:423(A)(1) (2016), from 2006 to 2016, the statute read, “coastal protection, conservation, or restoration,”
La. Stat. Ann. § 56:423(A)(1) (2006). The full current subsection 423(A)(1) provides:

         This exclusive use of water bottoms is subordinate to the rights or responsibilities of the state, any
         political subdivision of the state, the United States, or any agency or agent thereof, to take any action
         in furtherance of integrated coastal protection as defined in R.S. 49:214.2.

La. Stat. Ann. § 56:423(A)(1) (2016). The Louisiana legislature defines “integrated coastal protection,” first
incorporated into section 56:423(A)(1) in 2016, in section 214.2(11) as follows:

         [P]lans, projects, policies, and programs intended to provide hurricane protection or coastal
         conservation or restoration, and shall include but not be limited to coastal restoration; coastal
         protection; infrastructure; storm damage reduction; flood control; water resources development;
         erosion control measures; marsh management; diversions; saltwater intrusion prevention; wetlands
         and central wetlands conservation, enhancement, and restoration; barrier island and shoreline
         stabilization and preservation; coastal passes stabilization and restoration; mitigation; storm surge
         reduction; or beneficial use projects.


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         IT IS SO ORDERED.

                                                                  s/ Ryan T. Holte
                                                                  RYAN T. HOLTE
                                                                  Judge




La. Stat. Ann. § 214.2(11). This language specifically refers to “plans, projects, policies, and programs intended to
provide hurricane protection or coastal conservation or restoration” including, but not limited to, “flood control.”
La. Stat. Ann. § 214.2(11). The parties’ briefing also lacks section 423(B)(1)(a) which provides:

         No lessee shall have any right to maintain any action against the state, any political subdivision of
         the state, the United States, or any agency, agent, contractor, or employee thereof for any claim
         arising from any project, plan, act, or activity in relation to integrated coastal protection, except as
         provided in R.S. 56:427.1.

La. Stat. Ann. § 56:423(B)(1)(a). Section 56:423(B)(1)(a) provides no lessee shall have a right to maintain an action
against the United States “for any claim arising from any project, plan, act, or activity in relation to integrated
coastal protection, except as provided in R.S. 56:427.1.” La. Stat. Ann. § 56:423(B)(1)(a) (emphasis added). This
section applies the definition of “integrated coastal protection” which might include actions relating to “flood
protection” under certain circumstances. La. Stat. Ann. § 214.2(11).

If applicable to plaintiffs in this case, these statutes may raise the following issues: whether operation of the
Spillway to control non-hurricane upstream river water constitutes a “plan[], project[], polic[y], [or] program[]
intended to provide hurricane protection or coastal conservation or restoration . . . includ[ing] but not limited
to . . . flood control” under section 214.2(11) and section 56:423(B)(1)(a); and whether under section 56:423(A)(1)
plaintiffs’ “exclusive use of water bottoms” might be “subordinate to the rights or responsibilities of . . . the United
States, or any agency or agent thereof.” These statutes are likely applicable regardless of compensable property
rights in oysters.

Given the potential importance of these statutes to this case, the parties shall include a discussion of the applicability
of the full version of the statutes in the 20 January 2022 joint status report.

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